 FUCHS
8/14/2017
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
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In Re:
                              Chapter 11
WonderWork, Inc.,
                               Case No.
         Debtor.              16-13607(MV)
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         INTERVIEW OF HANA FUCHS
               August 14, 2017
           New York, New York




Reported by:
DEBRA STEVENS
Job no: 19383


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                                                       2      EXAMINATIONS
 2       INTERVIEW OF HANA FUCHS, taken by             3   Witness          Page
                                                            By Mr. Curchack      6
 3   the Examiner, at the offices of Loeb &            4
                                                       5
 4   Loeb, 345 Park Avenue, New York, New York,        6              EXHIBITS
                                                       7   Fuchs
 5   on Monday, August 14, 2017, at 1:00 p.m.,             Exhibits    Description      Page
 6   before DEBRA STEVENS, a Certified Realtime        8
                                                           Exhibit 1 12/18/11 email        23
 7   and Registered Professional Reporter and          9
 8   Notary Public within and for the State of        10
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                                                                   01770 through 01782
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 9   New York.                                        11   Exhibit 3 6/30/17 "Donations  46
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 2        APPEARANCES:                                 2              EXHIBITS
 3                                                     3   Fuchs
 4   LOEB & LOEB LLP                                       Exhibits       Description     Page
         Attorneys for Examiner                        4
 5   345 Park Avenue                                       Exhibit 12 Three spreadsheets             138
     New York, New York 10154-1895                     5
 6                                                         Exhibit 13 Email thread number   158
      BY: WALTER H. CURCHACK, ESQ.                     6           023602
 7      wcurchack@loeb.com                             7   Exhibit 14 3/20/17 email with   164
 8      JASON R. LILIEN, ESQ.                                      spreadsheet Bates
        jlilien@loeb.com                               8           0019930
 9                                                     9   Exhibit 15 Email with attachment 168
         BETHANY SIMMONS, ESQ.                                     labeled "WonderWork
10       bsimmons@loeb.com                            10           Transaction Report,
11                                                                 July 2015-June 2016"
12                                                    11
     CARTER LEDYARD & MILBURN LLP                          Exhibit 16 4/25/17 letter           172
13       Attorneys for WonderWork, Inc.               12
     2 Wall Street                                         Exhibit 17 Three mailings             188
14   New York, New York 10005                         13
15     BY: LEONARDO TRIVIGNO, ESQ.                         Exhibit 18 Package of               189
         trivigno@clm.com                             14           information
16                                                    15   Exhibit 19 Email thread              197
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18                                                                 solicitations
     ALSO PRESENT:                                    17
19                                                    18
         MICHAEL BERKIN,                              19
20       GoldinAssociates, LLC                        20
21                                                    21
22                                                    22
23                                                    23
24                                                    24
25                                                    25

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 1               H. Fuchs                               1                H. Fuchs
 2   EXAMINATION BY                                     2   us and we'll go and clear up what we need
 3   MR. CURCHACK:                                      3   to clear up.
 4      Q. Good afternoon, Ms. Fuchs. My                4           We will be taking breaks,
 5   name is Walter Curchack and I represent            5   because I expect we will be going a fairly
 6   Jason Lilien, sitting to my left today.            6   long time today. If at some point you
 7   As you know, Jason is the court-appointed          7   want to take a break and we haven't called
 8   Examiner in the WonderWork bankruptcy              8   one, let us know and as soon as we get to
 9   case.                                              9   an appropriate stopping point, we'll do
10          I will be asking a series of               10   that.
11   questions. The reporter will be taking            11           Could you tell us where you
12   your answers. While this interview isn't          12   live, Ms. Fuchs?
13   under oath, you appreciate the fact that          13       A. I live at 60 Riverside Drive.
14   we understand you will be telling us the          14   It is on 78th Street and Riverside Drive,
15   truth.                                            15   New York City.
16          Please, when I ask a question,             16       Q. Are you feeling okay today, no
17   answer it audibly --                              17   medication of any kind that could possibly
18      A. Sure.                                       18   affect your ability to answer?
19      Q. -- rather than just nodding or              19       A. I feel okay.
20   saying "mm-hmm" or something, so the              20           MR. CURCHACK: Off the record.
21   reporter can get the answer. Okay?                21           (Discussion held off the
22      A. Yes.                                        22       record.)
23      Q. Also with me today, as you                  23       Q. Ms. Fuchs, did you do any
24   heard, Bethany Simmons, my colleague;             24   preparation for this interview?
25   Jason, who we introduced; and Mike Berkin,        25       A. Not really.
                                              Page 7                                                     Page 9
 1               H. Fuchs                               1               H. Fuchs
 2   who I think you have met before.                   2      Q. Did you talk to anybody about it
 3      A. Yes.                                         3   in advance?
 4      Q. Mike is with the financial                   4      A. I spoke to Len a little bit
 5   advisory firm of GoldinAssociates, which           5   about what to expect in terms of the
 6   was also retained by the Examiner.                 6   procedure.
 7          I will be asking most of the                7      Q. Did you look at any documents in
 8   questions today but, as I said before we           8   preparation for the interview?
 9   started, because of the somewhat informal          9      A. I looked at one document, which
10   nature of the interview process here, from        10   was -- refreshed my memory on.
11   time to time Jason will probably be asking        11      Q. What document was that?
12   some questions, too. We might also ask            12      A. The one on restricted donations
13   Mike at some point to help phrase some of         13   and the donation process. It was
14   the questions correctly when we get into          14   something we put together.
15   accounting specific questions. Okay?              15      Q. I think we are going to get to
16      A. Okay.                                       16   that. Let's do it now.
17      Q. Couple of boilerplate rules.                17      A. I don't remember the full name
18   Please wait for me to finish the question         18   of it.
19   before you answer. If at any point you            19      Q. That's okay.
20   don't understand the question, just say so        20      A. "Donation process" I think it
21   and we will try to rephrase it. If at             21   was called.
22   some point during the interview you               22      Q. Let us show it to you and see if
23   remember something that you want to add to        23   that is the one you are talking about.
24   an earlier answer or change an earlier            24      A. Okay.
25   answer, don't hesitate. Please just tell          25          MS. SIMMONS: Let's move on and
                                                                                     3 (Pages 6 to 9)
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 1               H. Fuchs                               1               H. Fuchs
 2      I will have them pull it.                       2   as controller there?
 3          MR. CURCHACK: We'll come back               3       A. As controller? I was in charge
 4      to that. Okay.                                  4   of the day-to-day accounting and payroll
 5      Q. Could you tell us about your                 5   and accounts payable. About maybe 15
 6   education, please?                                 6   people.
 7      A. Well, I went to Queens College               7       Q. So, your accounting experience
 8   and have a degree in math back in 1970.            8   really was learned on the job as opposed
 9   Bayside High School before that --                 9   to formal education?
10      Q. Just --                                     10       A. That's correct.
11      A. That was it. No graduate                    11       Q. So let's now take it from
12   school.                                           12   Children's Television Workshop to Smile
13      Q. Have you ever taken any                     13   Train. First of all, what caused you to
14   certifications or continuing education            14   leave Children's Television?
15   kind of programs?                                 15       A. I didn't really get along with
16      A. No, I haven't.                              16   the VP of finance -- the CFO, I should
17      Q. Let's turn to your employment               17   say. We had a difference of opinion, and
18   history. What was your first job right            18   I decided at that time -- they were doing
19   out of college?                                   19   a kind of layoff, so I kind of joined the
20      A. I worked for Avon Products when             20   crowd and got a nice severance -- I got a
21   I graduated as a -- I can't remember. We          21   little severance package at the time.
22   are talking 47 years ago.                         22           And one of the people I worked
23          Okay. I worked for Avon                    23   for at the Workshop left for Smile Train.
24   Products, ended up, after 25 years, as            24       Q. Who was that?
25   director of internal audit. I started in          25           (Pause.)
                                             Page 11                                                    Page 13
 1              H. Fuchs                                1              H. Fuchs
 2   their accounting department, moved into            2      A. I'll remember it eventually.
 3   the systems department, and after that, I          3      Q. That's why we let you go back.
 4   went into internal audit where I spent             4      A. It's funny. He was the first --
 5   probably 15 out of the 25 years in that            5   well, the second CEO at Smile Train.
 6   department.                                        6      Q. So did he leave the Workshop to
 7          Final job was a director of                 7   become CEO of Smile Train?
 8   international audit where we did financial         8      A. Yes. He left before I left.
 9   and operational reviews of the facilities          9      Q. About how long before you left?
10   around the world.                                 10   Do you remember?
11      Q. Okay.                                       11      A. Probably about six to eight
12      A. After that -- you want the rest             12   months.
13   of my --                                          13      Q. So this was what? Around
14      Q. Sure.                                       14   2000 --
15      A. Sorry. From there I went to                 15      A. 1999.
16   Sesame Workshop. It was called Children's         16      Q. What was your first position at
17   Television Workshop when I was there. I           17   Smile Train?
18   was there for about two years as the vice         18      A. Smile Train, I was vice
19   president of -- vice president and                19   president of finance and administration.
20   controller. From there I moved to Smile           20      Q. And did -- what were your
21   Train --                                          21   responsibilities in that position?
22      Q. Let me stop at Sesame Workshop a            22      A. Well, at that time Smile Train
23   minute.                                           23   was a start-up, so it was really
24      A. Sure.                                       24   organizing the accounting department and
25      Q. What were your responsibilities             25   the finance department and the HR
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 1               H. Fuchs                                    1               H. Fuchs
 2   department and keeping track of all of the              2   suggestions as to how to account for
 3   expenses and payroll. Kind of wearing all               3   things?
 4   the hats. It was a very small group,                    4      A. Such as?
 5   so -- it sounded good, though, the title.               5      Q. Such as how to book donations,
 6      Q. Did you have people reporting to                  6   how to --
 7   you while you were there?                               7      A. No, not really. No.
 8      A. At Smile Train? Eventually,                       8      Q. Any --
 9   yes. No, the beginning, because it was                  9          MR. LILIEN: Did your role at
10   about five or six people in total.                     10      Smile Train include accounting?
11      Q. When did you grow -- when did it                 11          MS. FUCHS: Correct.
12   grow to the size that you needed help?                 12          MR. LILIEN: Can you just
13      A. After about six or seven years,                  13      explain to us what that role was with
14   I hired some staff.                                    14      respect to accounting?
15           Baxter Urist, U-R-I-S-T.                       15          MS. FUCHS: Well, I did all of
16      Q. That was the gentleman --                        16      the accounting, all of -- whatever it
17      A. He was at Children's Television                  17      entailed. Paying the bills, doing the
18   Workshop and he moved to Smile Train.                  18      payroll, booking the donations, doing
19   Sorry I blurted that out.                              19      the -- well, getting an accounting
20      Q. No problem.                                      20      company in to do the financial reports
21           How long after you joined was it               21      that were required for the IRS filings
22   until Mr. Urist left?                                  22      and working with the marketing group
23      A. Probably about a year. Maybe                     23      in terms of how to report the
24   less.                                                  24      donations and how they were getting
25      Q. Do you recall the circumstances                  25      them in.
                                                  Page 15                                                    Page 17
 1               H. Fuchs                                    1               H. Fuchs
 2   that caused him to leave?                               2          Kind of coming up with all the
 3      A. Not exactly.                                      3      systems that needed -- that we needed
 4      Q. Do you know who replaced him?                     4      to put together to have the company
 5      A. Brian Mullaney.                                   5      run smoothly.
 6      Q. So the first time you met Brian                   6          MR. LILIEN: In terms of how
 7   was in around 2000?                                     7      revenue, donations were recorded on
 8      A. Probably right, about 20,000.                     8      the books and records of Smile Train,
 9      Q. At that point, when he came in                    9      was that a function of yours?
10   he was the CEO of Smile Train?                         10          MS. FUCHS: That was my
11      A. Acting CEO until he took the job                 11      function. Correct.
12   permanently. I am not sure exactly the                 12          MR. LILIEN: Maybe that goes
13   transition time, but...                                13      back to your question. Did you ever
14      Q. So, you overlapped with him                      14      discuss that function with Brian?
15   there for about 10 years more or less. Is              15          MS. FUCHS: Probably
16   that correct?                                          16      occasionally, but not when he first
17      A. Yes, that's correct.                             17      started. Towards -- when we had a
18      Q. During that time, did you and                    18      board meeting, I had to prepare
19   Brian have conversations about accounting              19      reports and things like that; we
20   practices?                                             20      discussed it.
21      A. At Smile Train?                                  21      Q. Did he ever suggest any changes
22      Q. Yes.                                             22   in the way you were accounting for things?
23      A. Can you be a little more                         23      A. No.
24   specific?                                              24      Q. You mentioned that payroll was
25      Q. Did Brian ever come to you with                  25   one of your responsibilities?
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 1               H. Fuchs                                1              H. Fuchs
 2       A. Correct.                                     2     A.    They were from Ernst & Young.
 3       Q. Did Brian ever tell you -- ask               3          When I first joined, we didn't
 4   you to handle his payroll in any way                4   have an audit firm so I looked for an
 5   different than you were handling it before          5   audit firm and we hired Mitchell & Titus.
 6   that?                                               6      Q. How long were they the auditors?
 7       A. Well, in the beginning it was --             7      A. Until I left in 2011.
 8   well, we used ADP as our payroll firm, and          8      Q. Did those auditors ever question
 9   every once in a while Brian would say he            9   the practice -- raise any questions about
10   didn't want to be paid at a particular             10   the practice of deferring this payment?
11   time, so to kind of defer his payroll.             11      A. I would explain to them the
12       Q. Okay. And --                                12   procedure I used, and they were fine.
13       A. So I'd keep track.                          13      Q. Okay.
14       Q. You'd keep track of what?                   14      A. As well as the board.
15       A. What he was supposed to be                  15          MR. LILIEN: You mentioned
16   earning versus what he actually was paid.          16      before ADP prepares the W-2's.
17       Q. As part of your job as CFO, did             17          MS. FUCHS: Correct.
18   you prepare W-2 forms for employees of             18          MR. LILIEN: Based on
19   Smile Train?                                       19      information that you had put into the
20       A. ADP prepared those; yes.                    20      system?
21       Q. When Brian took one of those                21          MS. FUCHS: Correct.
22   deferrals, did it ever go from one fiscal          22      Q. What caused you to leave Smile
23   year over into another fiscal year?                23   Train?
24       A. Perhaps. I am not sure exactly.             24      A. My employment was terminated.
25   It's been a while. But it could have gone          25      Q. Were you given a reason?
                                              Page 19                                                     Page 21
 1              H. Fuchs                                 1               H. Fuchs
 2   from one year to the next.                          2      A. I was given a reason. It wasn't
 3      Q. If that were the case, what                   3   the right reason but I was given a reason.
 4   would his W-2 have reflected?                       4      Q. What was the reason you were
 5      A. Well, his W-2 would reflect his               5   given?
 6   cash salary. Whatever he received.                  6      A. That -- at the time, that Smile
 7      Q. And did you put anything on the               7   Train was merging with Operation Smile,
 8   books of the company that would reflect             8   and my position was redundant.
 9   the deferred portion of his salary?                 9      Q. What do you think the reason
10      A. Well, at the end of the year I               10   was?
11   would always talk to auditors and explain          11      A. I think Charles Wang just didn't
12   to them how Brian would or would not like          12   like me. I don't know honestly.
13   his payroll. And it was on a separate              13      Q. What was Mr. Wang's position --
14   ledger.                                            14   that is W-A-N-G; is that correct?
15          MR. LILIEN: Let me ask, when                15      A. W-A-N-G. Right.
16      you say end of year --                          16      Q. What was his position with
17          MS. FUCHS: Fiscal year, when                17   respect to Smile Train?
18      the auditors would come in and review           18      A. Well, he was chairman of the
19      the books.                                      19   board.
20          MR. LILIEN: The W-2's --                    20      Q. Had he been chairman the whole
21      A. The W-2's are end of the                     21   time you were there?
22   calendar year. But I always kept a                 22      A. Yes. Correct.
23   separate ledger of Brian's payroll.                23      Q. And to your knowledge, did he
24      Q. When you first joined Smile                  24   and Mr. Mullaney get along in your
25   Train, who were the outside auditors?              25   opinion?
                                                                                   6 (Pages 18 to 21)
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 1                H. Fuchs                              1              H. Fuchs
 2       A. I thought they did. To my                   2   email?
 3   knowledge.                                         3          (Pause.)
 4       Q. Did that change at some point?              4      A. Sounds familiar. I mean, this
 5       A. Probably, yes.                              5   sounds like I must have read it already,
 6       Q. About when?                                 6   so I am sure I did receive it. My name is
 7       A. I think probably about six                  7   on it.
 8   months before my position was terminated.          8      Q. Were you offered severance when
 9       Q. Okay.                                       9   you left Smile Train?
10       A. Around that time. Maybe a                  10      A. Yes, I was.
11   little after that.                                11      Q. Did you take it?
12       Q. Did you leave Smile Train before           12      A. No, I didn't.
13   or after Mr. Mullaney left?                       13      Q. Why not?
14       A. Well, I left after him, but                14      A. I disagreed with the terms that
15   his -- he was -- well, according to my            15   were in the agreement.
16   understanding, he was supposed to be a            16      Q. What terms did you disagree
17   consultant for a certain amount of time.          17   with?
18   So at the time my job was terminated, I           18      A. Particularly that I could not
19   thought he was still, had this consulting         19   work for Brian Mullaney or even volunteer
20   position. But apparently that wasn't              20   for Brian Mullaney or do anything for him.
21   quite right.                                      21      Q. So when -- did Mr. Mullaney
22       Q. Were you processing payroll for            22   offer you a position at WonderWork?
23   him after he left or using a 1099?                23      A. He did, yes.
24       A. He wasn't -- he wasn't -- when I           24      Q. What did that happen?
25   left, it was his last payroll. It was             25      A. Probably around -- around
                                             Page 23                                                   Page 25
 1               H. Fuchs                               1               H. Fuchs
 2   payroll. I don't know after that what his          2   October 2011, when -- yeah. That was
 3   payroll was.                                       3   about right. October. I left Smile Train
 4       Q. So the record is clear, when he             4   February 2011.
 5   left, that was the last payroll that you           5      Q. So did you have any employment
 6   saw for him?                                       6   between February of 2011 when you left
 7       A. Correct. My timing might be off             7   Smile Train and October?
 8   about the consultant part. I am not sure.          8      A. No.
 9       Q. Did you subsequently learn a                9      Q. Did you maintain contact with
10   little bit more about why Mr. Mullaney            10   Mr. Mullaney during that period?
11   left Smile Train?                                 11      A. We spoke. I am sure I received
12       A. Whatever -- I learned things but           12   some emails.
13   I don't know how true some of them were,          13      Q. Did you get sued by Smile Train
14   so I really don't feel like I know enough         14   at some point?
15   to say why he actually left.                      15      A. Yes, I did. I actually sued
16       Q. I am going to show you an email            16   them and then they countersued me.
17   we'll be marking as Exhibit Fuchs 1.              17      Q. What did you sue them for?
18           (So marked for identification as          18      A. For wrongful termination.
19       (Fuchs Exhibit 1.)                            19      Q. And what did they sue you for?
20       Q. For the record, we have marked             20      A. For everything, for my salary
21   as Exhibit Fuchs 1 a two-page email from          21   for 12 -- for numerous things that they
22   Brian Mullaney to Karen Lazarus, Hana             22   felt were suable.
23   Fuchs and DeLois Greenwood dated Sunday,          23      Q. Did you have to hire a lawyer?
24   December 18, 2011.                                24      A. Yes, I did.
25           Do you recall receiving this              25      Q. Who paid for the lawyer?
                                                                                 7 (Pages 22 to 25)
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 1               H. Fuchs                                    1              H. Fuchs
 2      A. I did.                                            2     of WonderWork?
 3      Q. Did you ever receive anything                     3          MS. FUCHS: That's correct.
 4   from WonderWork to help you -- to help                  4     Yes.
 5   mitigate those costs?                                   5          MR. LILIEN: Do you recall what
 6      A. No, I didn't.                                     6     the content of those conversations or
 7      Q. Did you ever receive anything                     7     those emails or what help you provided
 8   from Mr. Mullaney to help with those                    8     him?
 9   costs?                                                  9          MS. FUCHS: Well, I am not sure
10      A. No, I didn't.                                    10     if they were emails or conversations,
11      Q. How did that lawsuit end up?                     11     but he was still talking to Smile
12      A. Well, it was -- it was dropped                   12     Train, trying to get -- he was working
13   without prejudice by both parties.                     13     with some of the board members trying
14      Q. Was there a settlement in                        14     to get our severance approved because
15   connection with that?                                  15     there was that agreement that we had.
16      A. No, there wasn't.                                16     And they seemed to come to certain
17          MR. LILIEN: Can you clarify                     17     terms but never fully approved.
18      what they countersued you for?                      18          So, we were still hoping that we
19          MS. FUCHS: Oh, pretty much for                  19     could get a severance package, which
20      my entire salary for the 11 years I                 20     then I would have dropped my lawsuit,
21      was working there. That's what I                    21     but we didn't. And he would -- he
22      remember the most. They wanted me to                22     would tell us that he thought maybe it
23      pay back.                                           23     was working or there was a board
24      Q. Did they say why they wanted you                 24     meeting that he might have told us
25   to pay it back?                                        25     they talked about it.
                                                  Page 27                                                    Page 29
 1               H. Fuchs                                    1              H. Fuchs
 2      A. You know, I can't remember. I                     2          Within, I guess it must have
 3   am sure it was -- they had a reason there,              3      been around that summertime he was
 4   but one of those things that I forgot.                  4      thinking of starting WonderWork --
 5      Q. Did they sue anybody else at the                  5      well, Surgery For The Poor.
 6   same time?                                              6      Q. When you referred to the
 7      A. Not that I know of.                               7   agreement just now, is that the severance
 8      Q. Do you remember whether it was a                  8   agreement --
 9   federal court or a state court that they                9      A. The severance agreement.
10   sued you in?                                           10      Q. -- that they had offered you but
11      A. Well, it was a countersuit to my                 11   had conditions that you didn't like?
12   suit, which must -- it must have been                  12      A. Correct.
13   state. I don't remember what court it was              13      Q. And you said -- you also used
14   in. Sorry.                                             14   the word "us" so I take it there were
15      Q. That's okay.                                     15   others who were in a similar position?
16          MR. LILIEN: I am sorry.                         16      A. Well, DeLois, Karen and I were
17      Between February and November, you                  17   all offered severance agreements that we
18      mentioned there was no employment.                  18   turned down.
19      Were you consulting for anyone? Were                19      Q. Were you all terminated at the
20      you working in any capacity?                        20   same time?
21          MS. FUCHS: No. I was                            21      A. Yes. That's correct.
22      collecting unemployment.                            22      Q. What is your current title at
23          MR. LILIEN: During that period                  23   wonder work?
24      when you said you talked or had emails              24      A. Chief financial officer.
25      with Brian, was it about the formation              25      Q. Has that changed over time?
                                                                                      8 (Pages 26 to 29)
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                                             Page 30                                                Page 32
 1              H. Fuchs                                1               H. Fuchs
 2       A. No.                                         2   were donations that you had raised at
 3       Q. Was there anybody in a similar              3   WonderWork?
 4   capacity at WonderWork before you joined           4      A. WonderWork/Surgery For the Poor.
 5   it?                                                5   We did our own direct mail in addition to
 6       A. No.                                         6   working with Help Me See.
 7       Q. What were your responsibilities             7      Q. Did Help Me See send out its own
 8   when you started?                                  8   direct mail at that time?
 9       A. When I started at Surgery For               9      A. I don't remember quite how their
10   the Poor/WonderWork, my responsibilities          10   direct mail program worked. But I think
11   were to develop a financial system,               11   they did. I don't know. I can't
12   develop payroll, HR, and work with Help Me        12   remember.
13   See to help them develop similar systems.         13      Q. Was Surgery For The Poor -- at
14       Q. What was your understanding of             14   the time that Help Me See and Surgery For
15   the relation between Help Me See and              15   The Poor were working together, Surgery
16   WonderWork?                                       16   For The Poor would be sending out
17       A. My understanding was that we               17   solicitation mailings. Is that correct?
18   were -- WonderWork was to supply them with        18      A. Yes, that's correct.
19   back office responsibilities for keeping          19      Q. And were you or was Surgery For
20   the books and records, doing certain              20   The Poor sending out mailings on behalf of
21   direct mail, which is kind of not in my           21   Help Me See, also?
22   wheel house. But direct mail and other            22      A. I don't remember that.
23   marketing things.                                 23      Q. Okay.
24          But my position was to set up              24      A. I don't remember how that direct
25   accounting policies and procedures, set up        25   mail program worked.
                                             Page 31                                                Page 33
 1               H. Fuchs                               1              H. Fuchs
 2   their QuickBooks, PayPal, ways of getting          2      Q. Was there anything, to your
 3   donations.                                         3   recollection, in the mailings sent by
 4      Q. Were you compensated by HMS for              4   Surgery For The Poor that would indicate
 5   any of that separately from what you               5   that those funds would be going to Help Me
 6   were --                                            6   See?
 7      A. No, I wasn't.                                7      A. To my recollection, our mailings
 8      Q. Do you remember how much                     8   were for burns, clubfoot, hydrocephalus
 9   WonderWork was supposed to get paid by             9   and -- water on the brain and hole in the
10   Help Me See?                                      10   heart.
11      A. They were supposed to pay us                11      Q. Go back to look at the long
12   $166,000 a month for the services we were         12   email again. On the last page, last major
13   providing. I think we were supposed to            13   paragraph, it talks about a year-end
14   then give them certain grants or rebates          14   bonus. Did you ever receive that?
15   in exchange. However, the partnership             15      A. Not to my recollection.
16   didn't last very long.                            16      Q. So how were you compensated at
17      Q. You say grants or rebates.                  17   WonderWork?
18   Could you explain that a little bit?              18      A. Currently?
19      A. Well, the money that was -- that            19      Q. Let's start at the beginning and
20   we were raising, we were supposed to give         20   go forward.
21   them certain grants. I can't specifically         21      A. Oh. When I started, my
22   say how much and for what at this point,          22   compensation was 200,000 annually for
23   but I remember we did give them a grant           23   three years, and then it was reduced. We
24   for Help Me See at one point.                     24   took a pay cut of 40 percent to 160. And
25      Q. And the source of those funds               25   then FY -- the beginning of FY '17, last
                                                                                 9 (Pages 30 to 33)
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                                                 Page 34                                               Page 36
 1               H. Fuchs                                   1              H. Fuchs
 2   July, I was planning on working part time              2   an increase?
 3   towards retirement, so I was going to -- I             3      A. Well, I took a pay cut because I
 4   started to work two and a half days a week             4   was working part time, so --
 5   at 95,000.                                             5      Q. So the increases for the other
 6      Q. You said, I think, 40 percent                    6   people that got reduced went into effect
 7   reduction, but did you mean to say a                   7   at the beginning of fiscal year '17?
 8   $40,000 reduction?                                     8      A. Yes, I think so. Yes.
 9      A. Oh, 20 percent -- to 160.                        9      Q. Last summer?
10   Sorry. You are correct.                               10      A. Yes. Last summer. Seems like a
11          MR. LILIEN: Who received those                 11   long time ago. Yes. But they weren't
12      reductions?                                        12   back up to the percentage that was
13          MS. FUCHS: Karen, DeLois,                      13   reduced.
14      myself. I think that was it.                       14          MR. LILIEN: Do you know roughly
15          MR. LILIEN: What prompted the                  15      what the percentage of increase was?
16      reductions?                                        16          MS. FUCHS: Normally around
17          MS. FUCHS: Well, we were trying                17      7 percent, but I can't tell you
18      to save money and we were looking at               18      exactly what it was at that time. But
19      certain costs and work that was being              19      we go around that.
20      done.                                              20          MR. LILIEN: What justified the
21          MR. LILIEN: Was that directed                  21      increase? What prompted the increase?
22      by the board, or did Brian come up                 22          MS. FUCHS: We had a great year.
23      with that?                                         23      People working really hard.
24          MS. FUCHS: Brian asked us about                24          MR. LILIEN: What year is this?
25      it. We agreed and he presented it to               25          MS. FUCHS: FY '15 slash -- FY
                                                 Page 35                                               Page 37
 1               H. Fuchs                                   1                H. Fuchs
 2      the board.                                          2     '15 year.
 3          MR. LILIEN: Did Brian get a                     3           MR. LILIEN: You had a great
 4      similar reduction?                                  4     year.
 5          MS. FUCHS: As of that time, no.                 5           MS. FUCHS: We had a good year.
 6      Q. And that reduction stayed in                     6     A good year. And people were working
 7   place until you decided to go part time?               7     really hard. And normally on an
 8      A. For me, yes. Well, other people                  8     annual basis we do performance reviews
 9   had gotten increases, so...                            9     and...
10          MR. LILIEN: Had gotten                         10           MR. CURCHACK: I am going to ask
11      increases?                                         11     the reporter to now mark as Exhibit
12          MS. FUCHS: When I got the                      12     Fuchs 2 a document with production
13      reduction, because it was a new fiscal             13     numbers WON 01770 through 01782.
14      year and the beginning of the year we              14           (So marked for identification as
15      look at increases.                                 15     Fuchs Exhibit 2.)
16          MR. LILIEN: I am sorry. Are                    16     Q. I would like to ask you when you
17      the increases factored in after the                17   get it to just look at the second page.
18      reductions or did people, instead of               18           If you look at that page, it's a
19      getting reductions, get increases?                 19   chart with titles, people's names and then
20          MS. FUCHS: No. Sorry. I                        20   several other columns, one of which is
21      probably confused everybody. We took               21   "Salary." For you, it says $160,000. Do
22      the reductions. They stayed in place               22   you see that line?
23      until we did the FY '16 budget, and                23     A. Yes.
24      then people were given increase.                   24     Q. Next to that is $8,000 under a
25      Q. Were you one of the people given                25   column labeled "5 Percent." Can you tell
                                                                                   10 (Pages 34 to 37)
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                                              Page 38                                               Page 40
 1               H. Fuchs                                1              H. Fuchs
 2   me what that represents?                            2     numbers lower, not higher? I would
 3      A. The 5 percent?                                3     think --
 4      Q. Yes.                                          4         MS. FUCHS: Which is lower?
 5      A. Was the bonus calculation for                 5         MR. LILIEN: Looking at Tiffany
 6   2015. I mean, that's what it says here.             6     Carson, for example.
 7          MR. TRIVIGNO: Look at the rest.              7         MS. FUCHS: Because I -- I think
 8      Q. Feel free to look at it. It is                8     it depends when she started. But I
 9   just ADP records.                                   9     don't have the start date, but let me
10          Did you receive an $8,000 bonus             10     take a look.
11   at the end of fiscal '17?                          11         She was hired --
12      A. Yes, that's correct.                         12         MR. TRIVIGNO: 1779 is the page
13      Q. Then the next column says                    13     she is looking at.
14   "Total", and it's calendar '15. Next to            14         MS. FUCHS: She was hired in
15   your name it says $173,333.40.                     15     June of 2014, which would have been
16          Can you tell me what that number            16     the starter for salary. She started
17   represents?                                        17     June 2, 2014, which is FY -- FY '15.
18      A. I think I know but I must look.              18     She would have been at the 60,000
19          To my recollection, that would              19     mark. But the calendar year would
20   have been the total salary for 2015.               20     have been -- well, I'd have to look it
21      Q. Did you receive a bonus during               21     up. I am not making sense.
22   calendar year 2015?                                22         It was -- the calendar year
23      A. Yes, I did. The 160, the annual              23     should have all been calculated the
24   salary of the 160 was the FY '15 amount of         24     same way from January to December of
25   my salary. And had I added in -- if I              25     2015, whereas the annual salary was
                                              Page 39                                               Page 41
 1               H. Fuchs                                1                H. Fuchs
 2   would have added in the whole calendar              2      the fiscal year, FY '16, and I would
 3   year for 2015, then I would have gotten             3      have to go back to my payroll detail.
 4   173,000.                                            4      I don't have that spreadsheet.
 5          So, there were two options here,             5      Q. Okay.
 6   the annual salary versus the calendar year          6          So, in the approximately six
 7   salary to do this calculation. Am I                 7   years you have been working at WonderWork
 8   making sense?                                       8   or Surgery For The Poor, did your
 9      Q. Let me ask a foundational                     9   responsibilities change?
10   question. What does this chart represent?          10      A. No. My responsibilities
11      A. Well, as I recall, Brian had                 11   remained the same.
12   asked me what everybody's salary was and           12      Q. When did you meet DeLois
13   he wanted to give -- he wanted to see what         13   Greenwood?
14   a 5 percent bonus would be. So I took the          14      A. I met DeLois Greenwood at Smile
15   actual annual salary that we were given at         15   Train when I started working there.
16   the fiscal year versus what the calendar           16      Q. So she was there before you?
17   would have been had we extended it out,            17      A. That's correct.
18   which included the higher salary that I            18      Q. When did you meet Karen Lazarus?
19   was given before the reduction -- that             19      A. I met Karen about maybe a year
20   everybody was given.                               20   after I started.
21          So, the calendar year, if you               21      Q. Is that when she joined Smile
22   add in the total of the 200 for the first          22   Train?
23   six months and the 160 for the second six          23      A. That's correct.
24   months, you would have gotten this 173.            24      Q. So until you were at Smile
25          MR. LILIEN: Why are some                    25   Train, you hadn't met Mr. Mullaney or
                                                                               11 (Pages 38 to 41)
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                                                 Page 42                                                     Page 44
 1                H. Fuchs                                  1              H. Fuchs
 2   either Ms. Greenwood or Ms. Lazarus?                   2          We used the same type of
 3      A. That's correct.                                  3     accounting. QuickBooks I used at
 4      Q. Were you involved at all in                      4     Smile Train in the beginning. Using
 5   developing the business plan for                       5     QuickBooks at WonderWork. Payroll,
 6   WonderWork?                                            6     the same, of ADP. So, in that
 7      A. I didn't develop a plan per se,                  7     respect, yes.
 8   but I assisted in some of the numbers,                 8     Q. When you joined Surgery For The
 9   writing some of the numbers for Brian.                 9   Poor initially -- if it's okay with you, I
10   But his business plan, he developed.                  10   am going to say WonderWork?
11          MR. LILIEN: What does that                     11     A. Sure.
12      mean, writing the business?                        12     Q. And we all know the name
13          MS. FUCHS: Running the numbers.                13   changed, but if we are talking about a
14      If he wanted to see something 5 years              14   period before the name change, you will
15      into the future, he would give me the              15   understand I mean --
16      parameters as to how to calculate                  16     A. That is fine. I agree.
17      them. Like if X donations increased                17     Q. When you first joined, who was
18      by 10 percent over the years -- and                18   handling the payroll for WonderWork?
19      this is just an example -- then I                  19     A. When I joined WonderWork, there
20      would do a spreadsheet on that.                    20   was no payroll system in place.
21          MR. LILIEN: And what were the                  21     Q. So did you develop that payroll
22      columns you were filling in? What                  22   system?
23      were the end numbers you were trying               23     A. Yes. Called ADP January 2012.
24      to come up with? Revenues? Net                     24   Prior to that, I had an accounting person
25      assets? What?                                      25   come in and run the numbers for me so I
                                                 Page 43                                                     Page 45
 1              H. Fuchs                                    1              H. Fuchs
 2          MS. FUCHS: Best of my                           2   could make the payments, tax payments.
 3      recollection, it would be revenue,                  3      Q. Okay.
 4      expense, grants.                                    4      A. But that was just October,
 5      Q. Did you have any input into that                 5   November, December of 2011.
 6   business plan or that budget that was                  6      Q. When did Mr. Mullaney first
 7   based on numbers provided to you other                 7   defer some portion of his salary, to your
 8   than the numbers that you got from Brian?              8   knowledge?
 9      A. No, not to my recollection.                      9      A. I would have to look at my
10          MR. LILIEN: Were you utilizing                 10   payroll records. I can't give you a
11      your experience at Smile Train in any              11   specific date.
12      way in coming up with those numbers?               12      Q. Did Mr. Mullaney ever make a
13          MS. FUCHS: I guess so.                         13   loan to WonderWork?
14          MR. LILIEN: Can you be a little                14      A. There was initially, when the
15      more specific?                                     15   organization started, he -- before I
16          MS. FUCHS: Well, our business                  16   actually did the accounting, there was a
17      at Smile Train was granting money to               17   payment made to WonderWork from
18      hospitals, having them do the                      18   Mr. Mullaney as a loan.
19      surgeries and then, you know, giving               19      Q. Did that get repaid?
20      them funding as they grew.                         20      A. Yes, it did.
21          So, similarly, we grant money to               21      Q. Do you remember how much the
22      the hospitals to perform the                       22   loan was?
23      surgeries, except it's different types             23      A. I am thinking it was $50,000.
24      of surgery. So, a similar type of                  24      Q. And do you know where the funds
25      model.                                             25   to make that loan came from?
                                                                                    12 (Pages 42 to 45)
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                                                  Page 46                                                    Page 48
 1               H. Fuchs                                    1              H. Fuchs
 2     A.     No, I don't.                                   2   WonderWork?
 3          MR. CURCHACK: I am going to ask                  3      A. So, to be clear, did it change
 4      the reporter to mark as Exhibit Fuchs                4   on my side, or did it change on
 5      3 a five-page document labeled,                      5   marketing's side? I am not sure --
 6      "Donations Process Overview" dated                   6      Q. On your side, with respect to
 7      June 30, 2017.                                       7   your roles.
 8          (So marked for identification as                 8      A. Yes. We changed -- I changed
 9      Fuchs Exhibit 3.)                                    9   the part about how the restricted
10      Q. Is this the document you were                    10   donations were recorded based on linking
11   referring to before as the donations                   11   the donations to an appeal, which is on
12   process?                                               12   two.
13      A. Yes.                                             13      Q. Was the practice of doing that
14      Q. This document is dated June 30,                  14   linkage conducted prior to the time that
15   2017. Do you recall when you started to                15   this document was prepared?
16   prepare it?                                            16      A. To my knowledge, yes. This was
17      A. Well, to the best of my                          17   always -- donations were always linked to
18   recollection, it was done in phases, and               18   an appeal in the marketing department on
19   the marketing group started first. I                   19   their database.
20   reviewed part of it and then the final                 20      Q. And was that -- were those
21   piece I added, which was the fund                      21   markings carried through into the
22   accounting reconciliation on page 4.                   22   financial statements of WonderWork?
23      Q. And when did you first start                     23      A. We started carrying them through
24   working on your part of this?                          24   for FY '16. They weren't linked prior to
25      A. I probably started documenting                   25   that by me because in the past I wasn't
                                                  Page 47                                                    Page 49
 1               H. Fuchs                                    1               H. Fuchs
 2   this around the time the auditors came in               2   using this piece of knowledge to record
 3   April, and we finished it June 30th.                    3   the WonderWork donations.
 4      Q. Which auditors are you referring                  4          MR. LILIEN: To clarify, you
 5   to?                                                     5      mentioned you started working on this
 6      A. BDO.                                              6      in connection with the audit by BDO.
 7      Q. Until BDO became involved, was                    7          MS. FUCHS: That's correct.
 8   there any similar document that laid out                8          MR. LILIEN: When you mentioned
 9   the donations process?                                  9      fiscal '16, I want to be clear you are
10      A. Not as comprehensive as this.                    10      saying that in connection with the BDO
11          MR. LILIEN: Can you give some                   11      audit and their guidance they are
12      more clarity to that?                               12      giving to you? I don't want to put
13          MS. FUCHS: I had write-ups on                   13      words in your mouth but I want to make
14      certain of this, pieces of this. But                14      sure I understand.
15      not as detailed.                                    15          MS. FUCHS: That's correct. In
16          MR. LILIEN: Where were those                    16      connection to their guidance, we went
17      write-ups?                                          17      back and looked at FY '15 because of
18          MS. FUCHS: Normally the                         18      the way -- because of the procedures
19      auditors take them. I write them up.                19      we were using for FY '16. And so BDO
20      The auditor, KPMG and BDO, writing                  20      wanted to affirm that it was the same
21      something up for them as to how it                  21      in FY '15, which KPMG did that audit.
22      works.                                              22      Q. Was it the same?
23      Q. Did the process of -- did any of                 23      A. For WonderWork donations, no.
24   the processes referred to in this document             24      Q. And how was it different?
25   change over the course of your time at                 25      A. For the WonderWork
                                                                                    13 (Pages 46 to 49)
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                                             Page 50                                                     Page 52
 1                H. Fuchs                              1               H. Fuchs
 2   contributions, I was not linking the               2      retained and you were looking at
 3   donation to the appeal. The other -- the           3      fiscal year '16 to evaluate what was
 4   other causes, very simply, are restricted          4      done in '16?
 5   based on the cause. People donate money            5          MS. FUCHS: Well, we had a
 6   to Burn Rescue, First Step, 20/20/20.              6      restricted WonderWork account, but it
 7   However, when they donate money to                 7      was at that time, before BDO started,
 8   WonderWork, it was always a WonderWork             8      only one donation in there, which was
 9   account unless specifically on the check           9      restricted for a medical records
10   or letter it would say, "Please use this          10      database.
11   money for blindness, please use this money        11          MR. LILIEN: So during what time
12   for clubfoot." Then it would become               12      period, approximately what time did
13   restricted to that cause.                         13      you start revisiting WonderWork and
14          But if it was just WonderWork, I           14      the practice for WonderWork?
15   never went back to check on the appeal,           15          MS. FUCHS: Actually, before
16   which was...                                      16      BDO. Probably around January of 2017.
17      Q. How did you know when a check               17      Q. Do you recall -- whose decision
18   came into WonderWork -- let me rephrase           18   was it to go back to January of '16 --
19   that.                                             19   excuse me. January of 2017 and look at
20          Prior to 2016, when a check came           20   that?
21   into WonderWork and had some notation on          21      A. I think it was a joint decision
22   it such as "for surgery" or "for                  22   between our lawyers and Brian, us. I am
23   blindness," how was that booked in                23   not sure exactly who made the decision.
24   WonderWork's account? As a restricted or          24      Q. Does DMP play any role in the
25   unrestricted donation?                            25   funds processing process?
                                             Page 51                                                     Page 53
 1               H. Fuchs                               1               H. Fuchs
 2      A. If it specifically said on the               2      A. DMP, our caging company?
 3   check or if there was a letter attached to         3      Q. Yes.
 4   the check, it would be restricted to the           4      A. They get most of the -- they get
 5   cause, but not to WonderWork. There was            5   the majority of the direct mail pieces.
 6   not a WonderWork-restricted account at             6   They are mailed to a post office box in
 7   that time.                                         7   Maryland. And they -- their role is to
 8           The WonderWork checks came                 8   get the mail, sort it out, process the
 9   directly to the office for the most part.          9   checks, update the database based on the
10   The address on the reply on the envelope          10   primarily restricted accounts that we
11   was usually our office address, so I              11   have, the Burn Rescue, First Step and
12   opened the mail and I would see the check,        12   20/20/20.
13   and I would see what it said on the check.        13      Q. How does DMI fit in with the
14   And that's how it became either restricted        14   process?
15   or unrestricted.                                  15      A. DMI is our database management
16           The marketing department then             16   company. Their database is what we use
17   was able to check in their database what          17   currently to keep track of all of the
18   mail piece the donor received to determine        18   donations, all the direct mail pieces, all
19   what -- why they sent the money.                  19   of our donors.
20      Q. So did you maintain a restricted            20      Q. Before DMI, was there another
21   and an unrestricted account for WonderWork        21   entity that did that for you?
22   itself during this period?                        22      A. Yes. IDMI.
23      A. Not until FY '16.                           23      Q. Did they do basically the same
24           MR. LILIEN: You mean during the           24   thing as DMI does?
25      fiscal year '16 or after BDO was               25      A. Yes. Also part of their job is
                                                                                14 (Pages 50 to 53)
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                                                   Page 54                                                Page 56
 1               H. Fuchs                                     1               H. Fuchs
 2   to analyze the data, too, as well as --                  2     Q. The reporter has marked as
 3      Q. "Their" meaning --                                 3   Exhibit Fuchs 4 a two-page document that
 4      A. Both of those companies. Direct                    4   says at the top "WonderWork Inc. Employee
 5   mail companies, they analyze, report, do                 5   Travel Policy." Is this the policy you
 6   all the marketing requirements.                          6   were talking about?
 7      Q. Why did you switch from IDMI to                    7     A. Yes, this is the policy.
 8   DMI?                                                     8     Q. Do you recall when it was
 9      A. I think marketing -- the                           9   actually put on paper the way it is now?
10   marketing group would be the best people                10     A. When we did a board policy
11   to explain it. I think it was expensive.                11   manual, we put this on paper. It was
12   Part of it was expense, but I don't know                12   probably about 2012.
13   the full reason.                                        13     Q. Did this policy apply to
14          MR. LILIEN: What is the savings                  14   everybody at WonderWork?
15      of cost between IDMI and DMI?                        15     A. This applied to the employees.
16          MS. FUCHS: I am thinking at                      16     Q. Did this apply to Mr. Mullaney?
17      least 50 percent. I am just thinking                 17     A. No. Mr. Mullaney has his travel
18      of the monthly -- the monthly database               18   policy in his employment agreement.
19      costs were -- I think they ran around                19     Q. Are there any unwritten travel
20      $6,000 for IDMI and now are about                    20   policies at WonderWork?
21      2,500 for DMI. There are other                       21     A. Can you give me a --
22      things, too, but that's my initial                   22     Q. Are there any -- was this travel
23      recollection.                                        23   policy followed literally by WonderWork?
24      Q. Who maintains the general ledger                  24     A. No.
25   for WonderWork?                                         25     Q. Was this policy ever followed by
                                                   Page 55                                                Page 57
 1                 H. Fuchs                                   1                H. Fuchs
 2         A.   I do.                                         2   WonderWork?
 3         Q.   Who has access to it?                         3      A. The travel policy -- well, first
 4         A.   I do.                                         4   of all, really most employees don't
 5         Q.   Does anybody else have access to              5   travel, so it was followed by the junior
 6   it?                                                      6   employees. However, for the most part, I
 7      A. Read or change?                                    7   don't think so.
 8      Q. Let's take them separately.                        8      Q. And by referring to people other
 9   First, read.                                             9   than the junior employees do you mean, for
10      A. The auditors can, if I grant                      10   example, Mr. Mullaney?
11   them access at the time they are working                11      A. Well, Mr. Mullaney did not
12   on it, and the legal people.                            12   follow this policy. I am trying to think
13      Q. But none of them have the right                   13   of who else travelled. DeLois Greenwood
14   to change the ledger?                                   14   travelled; however, her reimbursements
15      A. Correct.                                          15   were usually for airline tickets and
16          MR. LILIEN: No one has the                       16   that's probably all.
17      right to change the ledger but you?                  17           I didn't really travel, so...
18          MS. FUCHS: Correct.                              18           MR. LILIEN: What is your
19      Q. From the time you first joined                    19      understanding of Brian's travel
20   WonderWork until the middle of 2016, did                20      procedures that are in his employment
21   WonderWork have a travel policy?                        21      contract?
22      A. WonderWork had a travel policy,                   22           MS. FUCHS: My understanding of
23   yes.                                                    23      his travel procedures is his hotel
24          (So marked for identification as                 24      stays in New York, train to New York,
25      Fuchs Exhibit 4.)                                    25      family travel with him, business class
                                                                                     15 (Pages 54 to 57)
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                                                  Page 58                                                    Page 60
 1               H. Fuchs                                    1                H. Fuchs
 2     travel.                                               2   the budget, does the budget include the
 3          MR. LILIEN: Can you explain                      3   amounts that WonderWork pays for
 4     that a little further and go through                  4   Mr. Mullaney's commuting to and from
 5     those individually? When you say his                  5   Boston?
 6     hotels in New York, what are you                      6      A. That's included in the budget,
 7     referring to?                                         7   yes.
 8          MS. FUCHS: Well, Mr. Mullaney                    8      Q. As part of what line?
 9     lives in Boston now, so he commutes                   9      A. Travel.
10     once a week or one every two weeks,                  10           MR. LILIEN: Is it separately
11     and the transportation cost is covered               11      delineated?
12     under his employment agreement, the                  12           MS. FUCHS: Not -- not in the
13     train to and from, parking, things                   13      budget that the board receives, but in
14     like that.                                           14      the work papers that I use to prepare
15     Q. Have you ever read his                            15      the budget.
16   employment agreement?                                  16           MR. LILIEN: Within the system
17     A. Yes.                                              17      that you manage at WonderWork, is
18     Q. Where does Mr. Mullaney stay                      18      travel and commuting treated the same?
19   when he is in New York?                                19           MS. FUCHS: Well, there is a
20     A. He stays usually at the Langham                   20      line item for travel, and then there
21   Hotel.                                                 21      is a line item for transportation, and
22     Q. Who was the initial public                        22      then there is another line item for
23   auditor for WonderWork?                                23      meetings and entertainment. So there
24     A. KPMG.                                             24      are several line items and I book the
25     Q. And they were the auditors until                  25      hotels on the meeting line and
                                                  Page 59                                                    Page 61
 1             H. Fuchs                                      1               H. Fuchs
 2   when?                                                   2      transportation for the commuting. Is
 3      A. They finished our FY '15 audit                    3      that --
 4   and 990 New York tax return.                            4          MR. LILIEN: You mentioned
 5      Q. Did they start working on the                     5      before you believe his employment
 6   2016 audit?                                             6      contract also covers his family.
 7      A. No, they did not.                                 7          MS. FUCHS: For certain travel.
 8      Q. Did KPMG ever raise any                           8          MR. LILIEN: Can you explain
 9   questions about your travel policies?                   9      that?
10      A. Not to my knowledge they didn't                  10          MS. FUCHS: If he decides to go
11   raise -- not to my recollection.                       11      on a trip to visit a hospital, he is
12      Q. Did BDO ever raise any questions                 12      allowed to take his spouse with him.
13   about your travel policy?                              13      That's what I think is included.
14      A. BDO asked about approvals of                     14      Q. Does WonderWork have an expense
15   expenses.                                              15   reimbursement policy different than the
16      Q. And what did you tell him?                       16   travel policy?
17      A. Well, the expense budget is                      17      A. Well, what I consider the
18   approved by the board, the travel budget               18   expense reimbursement policy would be a
19   is approved by the board. Mr. Mullaney's               19   person filling out an expense report for
20   expenses are part of his contract. And                 20   expenses they incurred, attaching all the
21   they wanted to see backup for many of the              21   required receipts. So it could be for
22   expenses that were in his -- on his credit             22   travel or it could be for something that
23   card and we were able to obtain most of                23   they have spent their own money on. Maybe
24   them.                                                  24   office supplies that weren't ordered or
25      Q. When you said the board approves                 25   something they needed to get to the
                                                                                    16 (Pages 58 to 61)
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                                                Page 62                                                   Page 64
 1               H. Fuchs                                  1              H. Fuchs
 2   office. Stamps, for example. And they                 2     financial system at WonderWork to
 3   would put it on an expense report with the            3     treat hotel and travel that is
 4   backup and it would be approved and                   4     personal to Mr. Mullaney as a benefit?
 5   reimbursed.                                           5         MS. FUCHS: In my opinion, it
 6      Q. Who would approve it?                           6     was always business related, so no,
 7      A. I would. Normally they'd ask me                 7     not a benefit at this point.
 8   first. "Can I buy stamps? We don't have               8         MR. LILIEN: What was business
 9   any stamps."                                          9     related about it?
10      Q. Was that policy ever in writing?               10         MS. FUCHS: The fact that he
11      A. I don't think so. It's actually                11     lived in Massachusetts and needed to
12   written up on the form, but it's not a               12     commute to New York to do business.
13   separate policy.                                     13         MR. LILIEN: Was this a need --
14      Q. Did Mr. Mullaney follow that                   14     when you say need, explain what you
15   policy when he put in for reimbursements?            15     mean by need?
16      A. Primarily Mr. Mullaney's                       16         MS. FUCHS: Well, if he had a
17   expenses were on a corporate credit card,            17     meeting in the office, he had to have
18   so I don't remember -- or there may be one           18     a staff meeting or talk to the staff
19   or two times when he filled out an expense           19     or things like that. So, there would
20   report. But his assistant, Karen, would              20     be a need for him to be there.
21   do that. Maybe once.                                 21     Q. Did Mr. Mullaney live in Boston
22          MR. LILIEN: Regarding                         22   when you joined WonderWork?
23      Mr. Mullaney's commuting expenses, do             23     A. No, he didn't.
24      you recall any discussion with your               24     Q. Do you recall when he moved?
25      auditors about whether any of the                 25     A. Probably about -- about two
                                                Page 63                                                   Page 65
 1              H. Fuchs                                   1               H. Fuchs
 2     payments for those expenses were                    2   years ago maybe.
 3     taxable, taxable for Mr. Mullaney?                  3      Q. While he was living -- while
 4         MS. FUCHS: I don't recall any                   4   Mr. Mullaney was living in New York, did
 5     discussions like that.                              5   he get compensated for his computing
 6         MR. LILIEN: Do you recall                       6   costs?
 7     having any discussions with Brian?                  7      A. Not that I recall.
 8         MS. FUCHS: About that?                          8      Q. Who told you that it was okay to
 9         MR. LILIEN: Yes.                                9   reimburse his computing costs as a
10         MS. FUCHS: No, I don't.                        10   business expense?
11         MR. LILIEN: Have you ever                      11      A. Well, at the time it was KPMG.
12     treated those payments to Mr. Mullaney             12          MR. CURCHACK: I am going to ask
13     as taxable to him in terms of federal              13      the reporter to --
14     tax reporting?                                     14          MR. LILIEN: Sorry, one second.
15         MS. FUCHS: On his travel? On                   15      I want to explore that. Apart from
16     his transportation?                                16      KPMG, before it got to the time of the
17         MR. LILIEN: On his commuting.                  17      audit, during the course of the year
18         MS. FUCHS: No, I haven't.                      18      before it was audit time when the
19         MR. LILIEN: Including his                      19      auditor came and looked at expenses,
20     hotel.                                             20      who instructed you to pay
21         MS. FUCHS: No, I haven't.                      21      Mr. Mullaney's hotel and travel from
22     Q. And his travel?                                 22      Boston?
23     A. No, I haven't.                                  23          MS. FUCHS: Well, it was
24         MR. LILIEN: Relatedly on that                  24      discussed with the -- with the audit
25     point, would you consider within your              25      committee on the board, too, and I
                                                                                  17 (Pages 62 to 65)
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                                            Page 66                                                Page 68
 1               H. Fuchs                              1               H. Fuchs
 2      was -- I had explained this is what I          2         MS. FUCHS: Well, I am
 3      do, and they agreed.                           3     assuming -- I shouldn't say assume,
 4      Q. Did you have direct                         4     but since it was in his contract about
 5   communications with the board on that?            5     his expenses and they read that and
 6      A. Directly to the board?                      6     approved his contract, that is what I
 7      Q. Let me ask some specific                    7     am surmising, that --
 8   questions. Did you ever attend board              8     Q. Sorry to interrupt. Did
 9   meetings?                                         9   Mr. Mullaney tell you that the board had
10      A. One.                                       10   approved his commuting costs at the time
11      Q. Was the issue of Mr. Mullaney's            11   he made the move?
12   travel between Boston and New York address       12     A. To the best of my recollection,
13   at that board meeting?                           13   yes.
14      A. No, it was not.                            14         MR. CURCHACK: We are going to
15      Q. Did you have direct                        15     now mark as Fuchs Exhibit 5, 6, 7, 8
16   communications either by email or phone          16     and 9, the New York forms CHAR500 for
17   with any member of the board concerning          17     several fiscal years, and attached to
18   Mr. Mullaney's travel between Boston and         18     each of those forms is the Internal
19   New York?                                        19     Revenue Service Form 990. Attached to
20      A. I don't recall having direct               20     that is the audited financial
21   communications. I recall speaking with a         21     statements. The first exhibit is for
22   board member when he was in the office.          22     fiscal year ended June 30, 2012.
23      Q. Do you remember which board                23         6 will be for fiscal year ended
24   member that was?                                 24     June 30, 2013.
25      A. J.J.                                       25         Let me redescribe this exhibit
                                            Page 67                                                Page 69
 1              H. Fuchs                               1               H. Fuchs
 2          MR. LILIEN: When you say the               2      as the same documents I described but
 3     audit committee had approved this,              3      not including fiscal year 2016.
 4     when did the audit committee approve            4          (So marked for identification as
 5     this and how do you know they approved          5      Fuchs Exhibit 5.)
 6     it?                                             6          (So marked for identification as
 7          MS. FUCHS: Currently J.J. has              7      Fuchs Exhibit 6.)
 8     approved all of the expenses, so I              8          (So marked for identification as
 9     know he has approved in the past, but           9      Fuchs Exhibit 7.)
10     I am not sure when.                            10          (So marked for identification as
11          MR. LILIEN: When you say he's             11      Fuchs Exhibit 8.)
12     approved expenses, can you tell me             12      Q. I don't think you need to read
13     what you mean by that?                         13   the whole thing at this time. I will
14          MS. FUCHS: He's gone over all             14   represent these were copied directly from
15     of the FY '15 and '16 credit card              15   production.
16     expenses from Mr. Mullaney.                    16          Do you recognize these
17          MR. LILIEN: When did he start             17   documents?
18     doing that?                                    18      A. Yes.
19          MS. FUCHS: Well, he did that              19      Q. Were you responsible for
20     for BDO recently.                              20   preparing any portion of these documents?
21          MR. LILIEN: Going back in time,           21      A. I was responsible in conjunction
22     though, not in connection with a BDO           22   with KPMG in preparing these.
23     audit, you mentioned before the audit          23      Q. Who actually filled out the form
24     committee had approved this practice.          24   CHAR500?
25     I think that is what you had said.             25      A. This form was filled out by
                                                                              18 (Pages 66 to 69)
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                                              Page 70                                                Page 72
 1               H. Fuchs                                1               H. Fuchs
 2   KPMG.                                               2   fiscal year 2015. Let's go to page 277.
 3      Q. Did KPMG prepare the initial                  3   To your recollection, did Mr. Mullaney
 4   drafts of the Form 990's also?                      4   take any trips during fiscal year 2015?
 5      A. That's correct.                               5      A. He probably did. I cannot
 6      Q. What did they base their                      6   remember where, but I am guessing he did.
 7   preparation of those documents on?                  7      Q. But these boxes are not checked
 8      A. They used the general ledger                  8   on this year's return either, are they?
 9   that I supplied for them for their initial          9      A. I don't see a checkmark.
10   preparation for the numbers anyway.                10      Q. Let's turn to the return for
11      Q. And did you review these reports             11   fiscal year 2013. I want you to turn
12   before they were filed?                            12   to -- I thought I had marked the number.
13      A. Yes, I did.                                  13   Give me a second.
14      Q. And did you sign these reports               14           Page 0128. This is Part 10 of
15   before they were filed?                            15   the Form 990. I would like to address
16      A. I signed the CHAR500, and                    16   your attention to line 23.
17   Mr. Mullaney signed the 990 and the                17      A. I am sorry. Which one?
18   CHAR500.                                           18      Q. It is the one that begins with
19      Q. Over the course of the years at              19   113 on the bottom.
20   WonderWork, did your involvement in the            20      A. Okay. I got it.
21   preparation of these returns change?               21      Q. Go to the page that is 0128 at
22      A. No.                                          22   the bottom and look at line 23. It says,
23      Q. If you could turn, in the                    23   "Secured mortgages and notes payable to
24   2012-fiscal year return, to the page               24   unrelated third parties." The line is
25   labeled or numbered WON-EX 92. At the top          25   blank for the beginning of the year but
                                              Page 71                                                Page 73
 1               H. Fuchs                                1              H. Fuchs
 2   of this page, which is labeled "Schedule J          2   has a $1,159,203 entry for the end of the
 3   Compensation Information," do you see the           3   year. Can you tell me what that
 4   boxes under line 1a?                                4   represents?
 5      A. Yes.                                          5      A. I am thinking this was a loan
 6      Q. And the first box says, "First                6   made by one of our major donors. We would
 7   Class or Charter Travel." Is that                   7   call them impact loans -- oh, you know
 8   correct?                                            8   what? I am sorry. I take that back. The
 9      A. The box? Yes, that's what it                  9   loans payable underneath that is the
10   says.                                              10   impact loan.
11      Q. And the next box says "Travel                11          It might have been -- I don't
12   for Companions." Is that correct?                  12   really want to guess here, but it might
13      A. That's correct.                              13   have been money we borrowed against our
14      Q. Is either of these boxes                     14   monies in Vanguard, but I am not sure. I
15   checked?                                           15   have to go back to my general ledger to
16      A. No.                                          16   find that out.
17      Q. But is it correct that during                17      Q. Let me ask you to turn to page
18   this period Mr. Mullaney would travel with         18   0170 in that same package, notes to the
19   his spouse and would take business or              19   financial statements. I ask you to read
20   first class airfares?                              20   footnote 7 and let me know if that
21      A. To the best of my                            21   refreshes your recollection.
22   recollection -- well, I don't remember in          22      A. That's the impact loan, yes.
23   that time period what travel Mr. Mullaney          23      Q. Well, keep going.
24   did.                                               24      A. Borrow against the investment
25      Q. Let's look at the form for                   25   brokerage account. Yes.
                                                                                19 (Pages 70 to 73)
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                                                 Page 74                                                     Page 76
 1               H. Fuchs                                   1                H. Fuchs
 2     Q. Why did WonderWork borrow                         2           MR. LILIEN: Is                 an
 3   against its investment brokerage account?              3      investment manager or investment
 4     A. My understanding is we might                      4      advisor to WonderWork?
 5   have been a little bit cash -- in need of              5           MS. FUCHS: That is not his
 6   some cash.                                             6      title, but he was assisting in some
 7          MR. LILIEN: What was in the                     7      investment information for us.
 8     investment account at the time?                      8           MR. LILIEN: And to your
 9          (Pause.)                                        9      recollection, did the board approve
10          MR. LILIEN: I am not asking the                10      that loan against the investment pool?
11     specific amount. I am asking what                   11           MS. FUCHS: To my recollection,
12     were the source of the assets                       12      they did.
13     represented in the investment account.              13           MR. LILIEN: They did?
14          MS. FUCHS: The investment                      14           MS. FUCHS: They did.
15     account had monies from the loans, the              15      Q. Let's turn now to the forms for
16     impact loans that we received that we               16   fiscal year 2015, the one that begins with
17     hadn't spent plus there were -- there               17   237 at the bottom. You with me?
18     were some stocks and bonds that people              18      A. Yes.
19     had donated to us.                                  19      Q. If you look at the page number
20          MR. LILIEN: Why was there a                    20   239, there is a line -- I am sorry. This
21     need to borrow against that account as              21   is called Schedule 4A, professional fund
22     opposed to spending the investment                  22   raisers, fund raising councils, commercial
23     assets in the account?                              23   co-venturers.
24          MS. FUCHS: My recollection was                 24           In line 2, an entity called CDR
25     at that time it was probably less                   25   Fund Raising Group is identified. Can you
                                                 Page 75                                                     Page 77
 1                H. Fuchs                                  1               H. Fuchs
 2      expensive to take -- to borrow the                  2   tell me who CDR Fund Raising Group is?
 3      money, based on the interest that we                3      A. CDR is our current marketing
 4      were getting on the investment. But I               4   consultants that strategize with us on how
 5      would have to go back and look up my                5   to choose our marketing mail pieces and
 6      details. But I think the money in the               6   lists and budgeting, what we need to do in
 7      Vanguard account was making more money              7   our direct mail.
 8      than the money that we took out                     8      Q. According to this form, they
 9      percentage-wise.                                    9   received a fee of $227,500 during this
10      Q. Who made the decision to invest                 10   fiscal year. Is that correct?
11   the money in that account?                            11      A. That's correct.
12      A. The decision was made by                        12      Q. I would like to ask you to turn
13   Mr. Mullaney on the advice of some                    13   to page number 0251 of the 1090 -- I am
14   person -- persons who were investment                 14   sorry. The 990, which is Part 9,
15   strategists.                                          15   "Statement of Functional Expenses."
16          MR. LILIEN: Do you know the                    16   Please look down to line 11e. It shows a
17      names of the people who were                       17   0, doesn't it?
18      investment strategists?                            18      A. I see that.
19          MS. FUCHS: Well, the person                    19      Q. Why isn't the amount paid to CDR
20      whose name comes to mind is                        20   reflected as an expense on that line?
21                                                         21      A. According to KPMG, that CDR
22         MR. LILIEN:               ?                     22   expense would be included in the line 13
23         MS. FUCHS: Yes. He is a                         23   for office expenses based on their
24     professor of something. I don't have                24   understanding of what goes into that line
25     his whole title. But            .                   25   item.
                                                                                    20 (Pages 74 to 77)
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                                                  Page 78                                               Page 80
 1               H. Fuchs                                    1               H. Fuchs
 2          MR. LILIEN: Can you interpret                    2   Compensation $475,000." Then in column F,
 3      that for us, how that would be                       3   "Estimated amount of other compensation,"
 4      classified as an office expense?                     4   there is a $43,682 number. Can you tell
 5          MS. FUCHS: I don't have the                      5   us what the $43,682 represents?
 6      actual 990 preparation information,                  6      A. Well, this column includes
 7      but according to how they describe it,               7   benefits that the employees, officers
 8      this type of information goes into                   8   would get, which would be health, dental,
 9      that line item based on how they                     9   life insurance, disability insurance, in
10      describe office expenses, because I                 10   total.
11      had asked KPMG the same question. I                 11      Q. And what benefits do you recall
12      was told in more detail when they                   12   Mr. Mullaney having along those lines that
13      showed me the actual Form 990                       13   would be included in this line?
14      preparation data as what you are                    14      A. Okay. Health coverage for him
15      supposed to include in this line item,              15   and his family. Our WonderWork policy
16      and that's what they explained to me.               16   includes spouses and children for
17      Q. Could you turn to page 274 of                    17   everybody. It would be dental, the same
18   the same document, please? This is                     18   thing. Disability, which we had at this
19   Schedule G, "Supplemental Information                  19   point, we had long-term disability. And
20   Regarding Fund Raising or Gaming                       20   it would also be -- he has a life
21   Activities."                                           21   insurance policy.
22          Now, this form shows CDR Fund                   22      Q. Who is the beneficiary of that
23   Raising Group as a marketing fund                      23   policy?
24   consultant, and that $227,500 figure that              24      A. His family, his wife.
25   we saw in the other form, in the CHAR500,              25      Q. WonderWork was paying the
                                                  Page 79                                               Page 81
 1              H. Fuchs                                     1              H. Fuchs
 2   appears in column 5 as an amount paid to                2   premium for that insurance policy?
 3   fund raiser. Is that correct?                           3     A. That's correct.
 4      A. That's correct.                                   4     Q. Do you know whether that was
 5      Q. Now, in the next column, which                    5   provided for in his employment agreement?
 6   says, "Amount paid to or retained by                    6     A. My understanding is it is.
 7   organization," there is a negative                      7         MR. LILIEN: Does WonderWork
 8   $227,500. Can you explain that to me?                   8     provide that similar benefit to any
 9      A. My understanding of this is that                  9     other employees?
10   our organization didn't obtain any of the              10         MS. FUCHS: Not -- no. We have
11   227,000 from the fund raiser organization.             11     small life insurance policies on
12      Q. Meaning that they kept the whole                 12     everybody but not the extent of his.
13   amount?                                                13     But we do have life insurance.
14      A. This was their fee. Correct.                     14     Q. Do you recall when
15   Not based on how much money they raise.                15   Mr. Mullaney's employment agreement was
16      Q. Okay. Thank you.                                 16   executed?
17          How does WonderWork -- let's                    17     A. I don't recall the exact date.
18   stay with that one and go to page 248,                 18     Q. But did he have an agreement
19   part 7, "Compensation of Officers,                     19   when you joined?
20   Directors, Trustees," et cetera.                       20     A. No, he didn't.
21          Are you there? Are you on that                  21     Q. So his agreement came at some
22   page?                                                  22   point during the time?
23      A. Yes.                                             23     A. That's correct.
24      Q. In the first line it says Brian                  24     Q. Who chose KPMG to be
25   Mullaney, and it says, "Reportable                     25   WonderWork's auditor?
                                                                                   21 (Pages 78 to 81)
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                                            Page 82                                                Page 84
 1               H. Fuchs                              1               H. Fuchs
 2      A. Well, I sent out RFP's to all of            2   example, say we gave a grant to a hospital
 3   the top audit firms. Some answered, some          3   for $10,000 to do 25 surgeries. And
 4   didn't. And based on our responses,               4   sometimes they only did 10 and sometimes
 5   talked through everything with Brian, and         5   they would do 30. So the way I would book
 6   KPMG had the best reputation, and that's          6   the in-kind when I was at Smile Train, I
 7   how we selected, based on reputation and          7   would use the 25 surgeries that we funded,
 8   what their -- their charges for doing the         8   which did not mean the hospital actually
 9   audit and the 990.                                9   did 25, but I took that number.
10          MR. LILIEN: Had you ever used             10          We received information from the
11      KPMG before in any of your employment?        11   hospitals as to what the actual cost was
12          MS. FUCHS: I did not.                     12   and we calculated based on the difference.
13          MR. LILIEN: Do you know if                13      Q. In other words, you would give
14      Brian had ever used KPMG before?              14   them -- Smile Train now would give the
15          MS. FUCHS: I don't know.                  15   hospital, let's say, $10,000, and say
16          MR. LILIEN: Were you familiar             16   please do 25 surgeries with this. But you
17      at all with the partners or staff             17   never confirmed that they actually did the
18      working on the account?                       18   25 surgeries?
19          MS. FUCHS: No, I was not.                 19      A. No, we confirmed it, but we
20          MR. LILIEN: Do you know if                20   didn't book the in-kind that way. We
21      Brian was?                                    21   always confirmed it because the hospitals
22          MS. FUCHS: I do not.                      22   had to send in pre and post operative
23      Q. Do you recall having discussions           23   pictures of all the work they did before
24   with KPMG about in-kind donations?               24   we would fund them again.
25      A. Yes, I do.                                 25      Q. So --
                                            Page 83                                                Page 85
 1              H. Fuchs                               1               H. Fuchs
 2      Q. Tell us what you recall about               2      A. Medical records we call them.
 3   those conversations.                              3      Q. Tell me again how you calculated
 4      A. Well, going back to the                     4   the in-kind with respect to those 25
 5   beginning of in-kind, we calculated               5   surgeries?
 6   in-kind for Smile Train. So speaking to           6      A. We would -- we'd get -- we'd
 7   KPMG, I explained to them the practice of         7   send the hospitals a survey asking them
 8   calculating in-kind that was used when I          8   what it would cost to do surgery if they
 9   was at Smile Train, which would be the            9   weren't funded, the actual cost. And they
10   amount the hospitals would contribute            10   would fill out the survey and tell us how
11   toward the surgeries. The difference             11   much a real surgery would cost. So if
12   between what the hospitals would                 12   they said it cost $100 for the full
13   contribute to a surgery to what we would         13   surgery and we gave them $25 but they did
14   contribute. And we took the difference           14   the surgery, we would consider the
15   and we would account for it as an in-kind        15   difference, the $75, as an in-kind
16   contribution as well as an in-kind               16   contribution.
17   expense.                                         17      Q. You mentioned that you did that
18          So I talked through this with             18   at Smile Train. Do you recall whose idea
19   KPMG, and the manager on the job had his         19   it was initially to do that?
20   own way of accounting for in-kind, and he        20      A. I don't.
21   based it on the actual amount of surgeries       21      Q. Did you ever read any accounting
22   that were done and not how many we funded.       22   literature to try to understand?
23      Q. Can you explain that                       23      A. I read some of it. It's been a
24   distinction?                                     24   while.
25      A. Well, we give a grant -- for               25          MR. LILIEN: What is your
                                                                              22 (Pages 82 to 85)
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                                              Page 86                                                   Page 88
 1            H. Fuchs                                   1               H. Fuchs
 2   understanding of what the accounting                2      validate the amount of the
 3   treatment is on an in-kind -- when is               3      contribution?
 4   a donation considered an in-kind                    4           MS. FUCHS: Well, we received a
 5   donation such that you can report it                5      letter or email from the person who
 6   as in-kind on the company's books and               6      actually did the work as to what his
 7   records?                                            7      work was valued at.
 8        MS. FUCHS: It is based on                      8           MR. LILIEN: Do you recall
 9   several criteria which exactly I can't              9      receiving any backup documentation
10   tell you at the moment. But I have                 10      regarding that?
11   some documentation at the office on                11           MS. FUCHS: The backup of his
12   that.                                              12      work?
13        MR. LILIEN: So would you record               13           MR. LILIEN: Backup
14   the in-kind donations during the                   14      demonstrating or documented how he
15   course of the year on your books and               15      arrived at the million dollar figure.
16   records, or was that a function at the             16           MS. FUCHS: I do not.
17   end of the year you would determine?               17      Q. Did you ever discuss matching
18        MS. FUCHS: I would record an                  18   gifts with KPMG?
19   estimate, but then we'd true it up at              19      A. I did not.
20   the end of the year based on the                   20      Q. Did you ever discuss the
21   survey from the partners and the                   21   allocation of donations as restricted or
22   information on the actual -- the                   22   unrestricted with KPMG?
23   records that they did the surgeries.               23      A. Yes.
24        MR. LILIEN: Do you recall if                  24      Q. Tell us about some of those
25   any of the in-kind contributions that              25   conversations.
                                              Page 87                                                   Page 89
 1            H. Fuchs                                   1               H. Fuchs
 2   were reported, reported as in-kind                  2      A. Well, initially we did not have
 3   contributions to WonderWork were                    3   anything restricted back when we first
 4   contributions that were given directly              4   started, but when KPMG did, I think it was
 5   to WonderWork?                                      5   the second audit, I worked -- no, it was
 6       MS. FUCHS: We had one in-kind                   6   actually the first audit. I worked with a
 7   contribution -- it might have been FY               7   KPMG manager to come up with the process
 8   '15; I don't remember exactly -- from               8   of how you would allocate restricted and
 9   a consulting group that did work on                 9   unrestricted, how you would split the --
10   our program side that was valued at                10   well, how you would come up with the
11   about -- they valued it at over a                  11   system of recording the restricted and
12   million dollars as an in-kind                      12   unrestricted and how you would release the
13   contribution.                                      13   restriction and what you would end up with
14       MR. LILIEN: Aside from that                    14   at the end of the release procedure. So,
15   consulting group's in-kind                         15   that was a KPMG process.
16   contribution, are there any others you             16      Q. Did you ever discuss functional
17   can think of that related to your                  17   cost allocation with KPMG?
18   programmatic activities?                           18      A. Yes, I did.
19   A. We just used the surgeries.                     19      Q. What is your understanding of
20       MR. LILIEN: And the Boston                     20   what that means?
21   consulting groups, which is I believe              21      A. That would be how much you could
22   what it was.                                       22   allocate from your expenses based on if it
23       MS. FUCHS: Yes.                                23   was programmatic, if it was management in
24       MR. LILIEN: What did you                       24   general or fund raising.
25   receive at the time in order to                    25      Q. And what was the reason for
                                                                                23 (Pages 86 to 89)
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                                                  Page 90                                               Page 92
 1              H. Fuchs                                     1                H. Fuchs
 2   making that allocation?                                 2      Q. So KPMG told you, if I
 3      A. It would be based on the                          3   understood you correctly -- KPMG told you
 4   percentage of costs or time that people or              4   that if the legal fees in connection with
 5   things would be for each of those items.                5   the HMS litigation weren't attributable to
 6      Q. But why was it necessary to make                  6   program, they couldn't be counted as an
 7   that allocation?                                        7   expense? I am not sure I understand.
 8      A. Well, it was an accounting -- it                  8      A. No. They told me that the
 9   was an accounting policy that you are                   9   entire expense for that litigation was
10   allowed to -- you were allowed to allocate             10   attributable to programs.
11   part of your other expenses other than                 11           MR. CURCHACK: I would like to
12   programs to programmatic means.                        12      mark as the next exhibit --
13      Q. When you use the word                            13           (Recess.)
14   "programs," what do you think of? What do              14      Q. I would like to first mark as
15   you mean?                                              15   Exhibit 9 a letter dated February 20,
16      A. Well, the mission of the                         16   2014, from WonderWork addressed to KPMG.
17   organization is the program to me. So,                 17   It bears production number WON-EX 042021
18   our mission not only is to help the                    18   through 042025.
19   poorest of the poor in these countries get             19           (So marked for identification as
20   surgeries that they can't afford, but also             20      Fuchs Exhibit 9.)
21   to make people aware of the conditions and             21      Q. Do you recognize this document?
22   what can be done to help them and getting              22      A. Yes.
23   the information out there to the people                23      Q. And tell us what it is.
24   who need to know as part of it. That is                24      A. This looks like the KPMG letter
25   kind of in a nutshell.                                 25   to management on the financial statements.
                                                  Page 91                                               Page 93
 1               H. Fuchs                                    1               H. Fuchs
 2       Q. Did you discuss how legal fees                   2       Q. To management?
 3   would be apportioned or reflected on the                3       A. Well, it is to "Ladies and
 4   financial statements KPMG?                              4   gentlemen." We sent to KPMG. I am sorry.
 5       A. Yes, I did.                                      5   It is sent by us to KPMG, and it is the
 6       Q. Tell us about that.                              6   management -- I think it's the disclosure
 7       A. Well, in the last audit that                     7   letter.
 8   they did we discussed this expense of the               8       Q. And who drafted this?
 9   arbitration, and they considered that                   9       A. KPMG.
10   total expense as being programmatic.                   10       Q. Is that your signature on the
11       Q. What was the basis for                          11   last page?
12   considering it that?                                   12       A. Yes, it's my signature.
13       A. Well, the basis to them was it                  13       Q. At the time you signed this, did
14   was program related. It was based on the               14   you believe it to be true?
15   blindness program that this whole thing                15       A. Yes, I did.
16   came about.                                            16       Q. Do you recall, what were you
17           The other thing -- one other                   17   relying on -- scratch that. I apologize.
18   thing that just popped into my head is, in             18           Go to paragraph number 20. What
19   them explaining that to me, they said,                 19   was your basis for stating that you had a
20   "You can't allocate part of that to                    20   reasonable basis for allocation of
21   anything else. It is either programs or                21   functional expenses?
22   it isn't." So they said you have to take               22       A. Well, our functional expenses
23   the entire bill, which was what was in the             23   primarily are the biggest line item, which
24   allocation, the legal allocation for                   24   is the marketing expenses. And I use a
25   programs.                                              25   consultant to categorize our direct mail
                                                                                    24 (Pages 90 to 93)
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                                               Page 94                                                 Page 96
 1              H. Fuchs                                  1               H. Fuchs
 2   marketing expenses as to which is                    2   first?
 3   programmatic versus what is                          3      A. Came first?
 4   administration/fund raising. So I am                 4      Q. Yes.
 5   relying on him to do this reasonably.                5      A. Okay.
 6      Q. Who was that person?                           6      Q. So, if that's the case, then who
 7      A. Well, in '14 it, was our                       7   would have done the allocation before
 8   marketing company, Target Market, and they           8   Target Market Team?
 9   have somebody in their office who does the           9      A. I don't think there was an
10   allocation, and this sent it to us. We              10   allocation before Target Market.
11   subsequently have somebody else to do it.           11   Initially we didn't really do any direct
12      Q. Do you recall who that was?                   12   mail in the very, very beginning. I would
13      A. It is a fellow called Gary                    13   have to go back and look. I am not sure
14   Ellis. And he does this as a second job.            14   of the old financials.
15   He is an accounting person.                         15      Q. And if you go to page -- never
16      Q. Does what as a second job?                    16   mind.
17      A. He does functional expense                    17      A. In '12, I was looking to see if
18   allocations for direct mail pieces for              18   there was an allocation.
19   non-profits.                                        19          MR. TRIVIGNO: Wait for a
20      Q. How did you come to retain him?               20      question.
21      A. When we switched marketing firms              21          (So marked for identification as
22   from Target Market to CDR, the CDR                  22      Fuchs Exhibit 10.)
23   marketing company, they recommended Gary            23          MS. FUCHS: Back in FY '12, when
24   Ellis because they didn't do it                     24      we used NNE, we allocated very little
25   themselves, where the other marketing               25      to program on a direct mail. We had
                                               Page 95                                                 Page 97
 1               H. Fuchs                                 1                H. Fuchs
 2   company did this practice. So they said              2       most of it in fund raising, if you go
 3   this guy Gary Ellis does this.                       3       to the Exhibit 6, WON-EX 0165. If you
 4      Q. So when did you start using                    4       go to that line item 4, publishing --
 5   Target Market Team as your marketing                 5       "Printing, Publishing and Postage,"
 6   consultant?                                          6       you can see that the most -- most of
 7      A. We used them in the beginning,                 7       the money that was spent, of the
 8   the first two years or three years.                  8       163,000, 154 was fund raising. So, we
 9      Q. Did you ever use a company                     9       didn't use anybody to allocate any of
10   called NNN?                                         10       the -- this was FY '12.
11      A. Oh, NNE?                                      11       Q. That is printing, publication
12      Q. NNE.                                          12   and postage?
13      A. Yes. But they did not supply                  13       A. Yes.
14   any of that information.                            14       Q. Who did that allocation?
15      Q. Do you recall when you switched               15       A. I must have done it, or not done
16   from NNE to Target Market Team?                     16   it, since most of it was fund raising.
17      A. I think we -- I think we had                  17   And there might have been a small piece
18   Target Market and then we went to NNE.              18   that just went out regarding our programs
19   Maybe I am wrong. I don't remember. I               19   that wasn't fund raising and printing.
20   thought we -- I thought NNE came after              20   But I don't know exactly which one it was.
21   Target Market. I am not sure.                       21       Q. Turning to the same page in the
22      Q. Let me try to refresh your                    22   financial statement for fiscal year 2012?
23   recollection --                                     23           MR. TRIVIGNO: Talking about 5?
24      A. You are probably right.                       24       Q. 0106 of Exhibit 5, it again
25      Q. My understanding is NNE came                  25   appears to be a very small number.
                                                                                 25 (Pages 94 to 97)
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                                                Page 98                                               Page 100
 1              H. Fuchs                                   1                H. Fuchs
 2      A. Yes. That's the one I was                       2      Q. Is this also a similar kind of
 3   pointing out, FY '12.                                 3   letter to KPMG from WonderWork?
 4      Q. Then if you go to the same page                 4      A. Yes.
 5   of the financial statements for fiscal                5      Q. And it has your signature on the
 6   year 2014, which appears at page 0228 --              6   last page?
 7      A. Yes, I see that. This was                       7      A. Yes.
 8   probably Target Market.                               8      Q. Now, there were some changes in
 9      Q. And this reflects $3 and a half                 9   this agreement -- in this letter. Sorry.
10   million being allocated to program                   10   I am not going to ask you to read through
11   services and 4.3 million being allocated             11   it at this point because it speaks for
12   to fund raising. Is that correct?                    12   itself. But do you recall noting any
13      A. 3.9 -- yes -- oh, FY '14. 0227?                13   differences between this letter and the
14      Q. 0228.                                          14   previous ones?
15      A. Okay. That is FY '13.                          15      A. It looks like they added on some
16      Q. Okay.                                          16   points.
17      A. Yes.                                           17      Q. Do you recall why?
18      Q. Wait a minute. I think we may                  18      A. I don't recall why. I see the
19   have been looking at the wrong page.                 19   points, but I don't recall why they added
20   Let's go to page 0164.                               20   them.
21      A. In Exhibit?                                    21      Q. Let's look at paragraph 23.
22      Q. Exhibit 5, the 2013.                           22   Paragraph 23 says, "The organization has a
23          MR. TRIVIGNO: Exhibit 6.                      23   reasonable basis for determining estimates
24          MR. CURCHACK: Exhibit 6.                      24   associated with in-kind contributions and
25      Sorry.                                            25   has followed that basis at June 30, 2014."
                                                Page 99                                               Page 101
 1               H. Fuchs                                  1               H. Fuchs
 2          MS. FUCHS: 0164? Okay. I see.                  2           Did you ever have any
 3      Q. This is the June 30, 2013                       3   discussions with KPMG about that
 4   financial statement, and again, it shows              4   representation?
 5   the $3 and a half million allocated to                5      A. In this letter? I mean, in
 6   program services. The page we looked at               6   this --
 7   previously was actually for fiscal year               7      Q. Yes.
 8   2012.                                                 8      A. I don't recall.
 9      A. Correct.                                        9      Q. Did they -- to your
10      Q. It was part of this report                     10   recollection, who drafted this letter?
11   but --                                               11      A. KPMG.
12      A. Prior year. Mm-hmm.                            12      Q. And you read it before you
13          So Target Market did this --                  13   signed it?
14   well, to the best of my recollection, they           14      A. I did.
15   did '13 and '14, even though probably NNE            15           MR. CURCHACK: Let's mark the
16   started the marketing, Target Market                 16      next one.
17   picked it up. And they did the allocation            17           (So marked for identification as
18   percentages for me until Gary Ellis did              18      Fuchs Exhibit 11.)
19   them.                                                19      Q. Can you tell us what Exhibit 11
20      Q. When you said '13 and '14, you                 20   is?
21   mean fiscal year?                                    21      A. This looks like the
22      A. Fiscal year. Yes.                              22   representation for the FY '15 audit.
23      Q. Could you look at Exhibit 10,                  23      Q. Could you turn to -- and you
24   please?                                              24   signed this on the last page?
25      A. Yes.                                           25      A. Yes, I did.
                                                                                26 (Pages 98 to 101)
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                                            Page 102                                           Page 104
 1               H. Fuchs                               1             H. Fuchs
 2      Q. Could you turn to paragraph 27?              2   contract and they saw what the terms
 3   Do you recall why that paragraph was               3   were of the dissolutionment of the
 4   added?                                             4   terms --
 5      A. I don't recall why it was added,             5       MR. LILIEN: What word?
 6   no.                                                6       MS. FUCHS: How we dissolved the
 7      Q. Did WonderWork book --                       7   contract based on -- based on the
 8   withdrawn.                                         8   information that we had from Help Me
 9           Do you recall whether WonderWork           9   See and the emails that were sent
10   created an accrual for potential exposure         10   saying that they wanted to terminate
11   to Help Me See?                                   11   the agreement with us.
12      A. I created an accrual for what we            12       So, they read the -- they had
13   thought the exposure would be. I just             13   read the original contract and, based
14   don't remember which fiscal year it was           14   on that, that we recorded the
15   put in with Help Me See's agreement.              15   liability -- well, it wasn't a
16   There is a footnote -- there should be a          16   liability --
17   footnote in the audited financials                17       MR. LILIEN: Let me read a line
18   regarding it. If I could look through             18   I am referring to, "The liability
19   this, I could find it.                            19   recorded at the termination of the
20      Q. Sure. Please do. Just tell us               20   agreement has been reversed as
21   what you are looking at.                          21   management believed the liability will
22      A. As soon as I find it, I will let            22   not be paid."
23   you know.                                         23       Is that the line you are saying
24      Q. Can I direct you to page 0300?              24   KPMG determined --
25      A. Of which Exhibit?                           25       MS. FUCHS: Well, based on the
                                            Page 103                                           Page 105
 1               H. Fuchs                               1            H. Fuchs
 2      Q. Of the 2015 audited financial                2   original -- the original footnote when
 3   statements.                                        3   we first came up with it, it was
 4          MS. SIMMONS: 8.                             4   according to how KPMG also interpreted
 5      Q. It's Exhibit 8.                              5   the agreement as to what we were
 6      A. Got it. Which page?                          6   supposed to -- what we were supposed
 7      Q. 0300. Tell me if that is the                 7   to pay Help Me See and what they were
 8   footnote you were referring to.                    8   supposed to give us. And they came up
 9      A. Footnote 8?                                  9   with this liability.
10      Q. Yes.                                        10       And so at this --
11      A. The original footnote, though,              11       MR. LILIEN: Sorry. When you
12   didn't have the reversal in it. We                12   say they came up with this liability,
13   reversed the entry based on not knowing           13   referring to KPMG?
14   what the agreement might be, so we -- we          14       MS. FUCHS: KPMG, after they
15   had put it in thinking we were going to           15   read the agreement originally, back
16   get money based on the arbitration.               16   when they first recorded the footnote.
17   However, at that point in time when this          17   Because the footnote was in the FY '13
18   was being done, we decided it really              18   audit.
19   didn't make sense -- well, KPMG decided           19       MR. LILIEN: I am not referring
20   with us it didn't make sense to keep in           20   to the recording of a liability. I am
21   the accrual, so we reversed it.                   21   referring to the sentence that says,
22          MR. LILIEN: How would KPMG                 22   "Management believes the liability
23      know, have enough information to make          23   will not be paid."
24      that judgment?                                 24       MS. FUCHS: At this point, we
25          MS. FUCHS: They read the                   25   told KPMG we didn't think this was
                                                                         27 (Pages 102 to 105)
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                                            Page 106                                              Page 108
 1                H. Fuchs                              1              H. Fuchs
 2       going to happen.                               2   brought by Smile Train and Help Me See in
 3       Q. If you could look at Exhibit 10,            3   their financial statements?
 4   I think it is, which is the 2014 audit.            4      A. How did we -- how we treated
 5   Go to page 0234. Sorry. Exhibit 9?                 5   them?
 6           MS. SIMMONS: The actual audit              6      Q. Yes.
 7       is Exhibit 7.                                  7      A. In terms of?
 8       Q. Exhibit 7. Look at footnote 8.              8      Q. Were they treated -- how were
 9   It looks to me to be the same footnote.            9   they allocated amongst the functional
10       A. They usually put in for two                10   expenses?
11   years the same footnote. That's probably          11      A. Oh, according to what KPMG
12   why they put it in because it affects two         12   discussed with us, we could treat the
13   fiscal years. So this was the first time          13   expenses as a programmatic expense.
14   they put it in. I think the other                 14      Q. For both of those?
15   audit --                                          15      A. For Help Me See?
16       Q. Let's go to the previous year,             16      Q. Yes, and Smile Train?
17   the June 30th financials, which are               17      A. Yes. They did. I think they
18   attached to Exhibit 6.                            18   did. Smile Train was before that, so I am
19       A. Okay.                                      19   not sure. But I definitely remember Help
20       Q. Go to page 0170.                           20   Me See.
21       A. At that point, we didn't say it            21      Q. Going back to Exhibit 10 --
22   would be reversed.                                22   sorry. Exhibit 11 -- let's skip the
23       Q. So what caused the change in the           23   question and keep moving.
24   management's view between the 2013 audit          24          The end of fiscal year 2016, who
25   and the fiscal year 2014 audit to add that        25   was WonderWork expecting to do its audit?
                                            Page 107                                              Page 109
 1                H. Fuchs                              1               H. Fuchs
 2   last sentence to the footnote?                     2      A. At the very end of FY '16,
 3      A. I think it was because it was                3   June 30th, '16?
 4   just dragging out. Normally arbitration            4      Q. Yes.
 5   should have been finished in, you know,            5      A. KPMG.
 6   two months from what our original lawyer           6      Q. At some point in time did that
 7   had told us. And the fact that it was              7   change?
 8   dragging out this long, management felt            8      A. Yes, it did.
 9   that just it should be reversed, and I             9      Q. Can you tell us what happened?
10   didn't argue.                                     10      A. Well, I recall speaking with the
11      Q. Well, the latter footnotes say              11   partner in November, and everything seemed
12   that the liability recorded has been              12   to be okay. And then the whole bankruptcy
13   reversed. So which liability is not going         13   issue came up December, and the ruling --
14   to get paid?                                      14   well, arbitration ruling came up first.
15      A. Let me go back and look at what             15   The bankruptcy -- although the partner
16   we had offered.                                   16   knew about arbitration ruling because I
17          I think it was a grant that we             17   had sent her the documentation.
18   were supposed to give to Help Me See.             18          And then the bankruptcy came up.
19      Q. Which had been booked in the                19   Then we were trying to get things
20   financial statements as a liability?              20   together. And everything was fine until
21      A. Yes, that's correct.                        21   about February, when I got an email saying
22      Q. Thanks.                                     22   they weren't going to do the audit.
23      A. Grants payable. It was a grant.             23      Q. Do you remember the name of the
24      Q. How did WonderWork treat the                24   KPMG partner you are referring to?
25   legal expenses incurred in the actions            25      A. Yes. Kimberly Johnson.
                                                                           28 (Pages 106 to 109)
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                                           Page 110                                                Page 112
 1              H. Fuchs                               1               H. Fuchs
 2      Q. Did she -- did Ms. Johnson tell             2   let's say starting in February, were you
 3   you why they were not going to be able to         3   having discussions with KPMG about any
 4   do the audit?                                     4   particular issues regarding WonderWorks'
 5      A. Part of it was because it was --            5   financial statements?
 6   we were just too small of a charity for           6      A. No, I wasn't.
 7   them, we hadn't grown as much as they had         7      Q. Can we, please, mark as
 8   anticipated from the initial meeting with         8   Exhibit -- sorry. Never mind.
 9   them. That was kind of it. She didn't             9           MR. LILIEN: When you say they
10   say anything more.                               10      went up the chain, your understanding
11      Q. Isn't it true that the number of           11      is they went up the chain because your
12   donors and the amount of donations               12      organization size was too small?
13   increased in every fiscal year?                  13           MS. FUCHS: That was my
14      A. That's true.                               14      understanding, that it had to go --
15      Q. Did you try to talk them out of            15      well, that was one of the reasons but
16   backing out of the audit?                        16      I am sure -- not sure, but I -- well,
17      A. I tried to, but apparently it              17      that was the reason that I was told,
18   had gone up the chain and the chain said         18      that it went up her chain of partners.
19   no.                                              19           MR. LILIEN: Because?
20      Q. So what did you guys do then --            20           MS. FUCHS: Well, she said they
21          MR. LILIEN: Sorry. Before you             21      normally do a five-year review. I
22      go on, did anyone else besides you try        22      didn't get anything else, any other
23      to convince KPMG?                             23      information.
24          MS. FUCHS: I think Brian might            24      Q. So what happened next?
25      have called her. I am not sure if he          25      A. Next I tried to find another
                                           Page 111                                                Page 113
 1              H. Fuchs                               1               H. Fuchs
 2     called or e-mailed. And possibly, but           2   accounting firm. I sent out -- well, I
 3     I am not sure either, J.J. Coneys, our          3   looked at whoever -- underneath the top
 4     audit committee person.                         4   tier and I came up with three, four firms:
 5          MR. LILIEN: You believe either             5   BDO, Eisner, CohnReznick -- I think there
 6     Brian or J.J. may have spoken to KPMG           6   was a fourth. I am not sure. I think
 7     as well?                                        7   there were four that I called. And each
 8          MS. FUCHS: May have, yes. I am             8   one of them said no until BDO had agreed.
 9     not sure.                                       9   So, that took a while.
10          MR. LILIEN: Your understanding            10      Q. Do you recall when you finally
11     of the reason was that you were too            11   signed an engagement letter with them?
12     small and not growing sufficiently.            12      A. I think it was the beginning of
13     Was there any other reason                     13   April I think.
14     discussed --                                   14          MR. LILIEN: Why did the others
15          MS. FUCHS: With me, no.                   15      say no and how did they say no? What
16          MR. LILIEN: With Brian that you           16      format did they say no to you?
17     are aware of?                                  17          MS. FUCHS: Reznick said no,
18          MS. FUCHS: I don't know about             18      just no. The other ones, I had sent
19     anything that they discussed with her.         19      them some information and they weren't
20     But what I had discussed through the           20      interested. They never said why.
21     emails was exactly that.                       21          MR. LILIEN: What information
22          I had even gotten an engagement           22      did you send to them?
23     letter for the guy who was supposed to         23          MS. FUCHS: I sent them the
24     do the 990, so I was surprised.                24      financials. If they asked for -- I
25     Q. During this time frame, and                 25      might have sent them the arbitration
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 1               H. Fuchs                               1               H. Fuchs
 2      agreement, too, as part of their                2   we weren't quite -- we didn't quite have
 3      review.                                         3   the correct restricted/unrestricted
 4          MR. TRIVIGNO: The award.                    4   numbers yet because we were still
 5          MS. FUCHS: The award. I am not              5   completing the review for the FY '15 that
 6      sure exactly. I have to go back and             6   they wanted.
 7      see what I sent to everybody because            7          So, that was part of the reason
 8      each were asking for different things.          8   it was taking so long is because they
 9      But I explained the situation, that we          9   wanted to make sure they could -- they
10      are looking for an auditor. And until          10   could confirm the opening balance for FY
11      BDO, the other ones had said no.               11   '16 restricted numbers by what KPMG had
12          MR. LILIEN: Explain to me the              12   left for the FY '15. And they weren't
13      process. After you sent them and you           13   satisfied with what KPMG had sent them,
14      called them, they said send materials,         14   so...
15      and you sent materials, what happened          15      Q. So is the Form 909 now complete?
16      next? Did they speak with you about            16      A. Well, the Form 990, we filed it,
17      your materials?                                17   but we did say that it may be amended
18          MS. FUCHS: I am just trying to             18   based on the audited financials.
19      think back.                                    19      Q. Tell us again the issues that
20      A. I was kind of like working with             20   BDO has raised in connection with the
21   one at a time. And I would call them back         21   audit.
22   and find out -- because they were                 22      A. The major -- well, there were
23   interested originally and they weren't            23   two issues they raised aside from all of
24   interested and they never would tell me           24   the management comments and footnotes
25   exactly why, but they would say they              25   and -- what do you call those? Financial
                                            Page 115                                               Page 117
 1               H. Fuchs                               1               H. Fuchs
 2   weren't interested. So then I would work           2   information you put in the front of the
 3   with the next one on the list who was              3   report, which wasn't finished. They had
 4   interested, and they weren't interested.           4   questioned the opening balance for FY '16
 5   Then BDO finally was interested and we             5   of the restricted funds that were
 6   worked through all the documentation from          6   remaining because they weren't comfortable
 7   the bankruptcy, from the arbitration award         7   with the KPMG number.
 8   and from the bankruptcy. Most of them              8      Q. Did they tell you why they
 9   didn't get past the arbitration award.             9   weren't comfortable with it?
10   But they didn't tell me that. They just           10      A. My understanding from the senior
11   said no.                                          11   auditor was that they had reviewed some
12      Q. When you retained BDO, what was             12   work papers that KPMG had given them and
13   the time frame they were given to complete        13   they weren't happy. They weren't
14   the audit?                                        14   satisfied. So, they wanted to further
15      A. Well, we wanted to issue the 990            15   test that.
16   on the 15th, when the second extension was        16      Q. Any other issues that they took
17   due. That was part of it. Plus, I                 17   issue?
18   actually wanted to have the financials            18          MS. FUCHS: Oh, the other point
19   done by then as well.                             19      was, we had booked in-kind
20          They said they would do their              20      contributions for the surgical
21   best to be as fast as they could.                 21      partners, and the contribution they
22   Initially they didn't actually give us            22      made to us based on the surgeries that
23   when they would be finished, but the field        23      they performed, and they did not agree
24   work was supposed to be in April, and by          24      with our -- our philosophy, so to
25   May 15th they had done the 990 even though        25      speak.
                                                                           30 (Pages 114 to 117)
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 1               H. Fuchs                              1              H. Fuchs
 2      Q. And has that issue been                     2   be converted to cash for -- to be moved to
 3   resolved?                                         3   the Total Stock, it was in the small stock
 4      A. That has just been resolved.                4   accounts.
 5   They agree with us now. And so based on           5      Q. Were there other procedure
 6   their last review, they made some updates         6   issues that KPMG raised -- sorry. That
 7   to the numbers I had given them because           7   BDO raised in connection with their audit?
 8   the numbers I had given them were as of           8      A. Other than?
 9   the time they finished the fieldwork. So,         9      Q. You mentioned the in-kind issue?
10   they wanted more up-to-date numbers, so          10      A. Right.
11   there are some additional in-kind                11      Q. You mentioned the unrestricted
12   contributions they have accepted, which I        12   issue. And I asked you about --
13   am just going to confirm that tomorrow           13      A. Expenses.
14   with our program associate.                      14      Q. -- legal fees.
15          And then on the restricted                15      A. Okay.
16   numbers, based on the review that we             16      Q. For example, your policies with
17   performed with CLM, we have come up with         17   respect to reimbursements?
18   an additional amount of restricted               18      A. Their issue was on the
19   contributions based on the philosophy and        19   authorization of expense reimbursements,
20   procedures we used for FY '16 that BDO           20   since I was authorizing most of them, and
21   agreed with.                                     21   I had authorized Brian's expenses. We
22          So, I have updated those                  22   then sent all of the expenses to the board
23   numbers, and the person who is responsible       23   to authorize. And they were happy -- they
24   was on vacation last week. So she is just        24   are okay with that now. And all my
25   back today and I am supposed to go over          25   expenses, instead of me authorizing my own
                                           Page 119                                                 Page 121
 1               H. Fuchs                              1               H. Fuchs
 2   this with her tomorrow just to get that           2   expense reimbursements, send them to
 3   out of the way.                                   3   Brian, and he authorized them.
 4           Then there is just a few little           4      Q. Do you recall the amount of the
 5   tweaks in the notes, the management notes,        5   legal fees that were put under program
 6   and hopefully...                                  6   expenses?
 7      Q. Did BDO raise any issues about              7      A. For FY '16? FY '15?
 8   the allocation of legal fees?                     8      Q. For any year?
 9      A. No, they didn't.                            9      A. Well, I know FY '15 was a lot.
10      Q. How does WonderWork invest funds           10   And I can tell you that based on the
11   that it hasn't spent?                            11   audit.
12      A. Well, currently all of our funds           12          So for FY '15, professional or
13   are in a money market, based on the              13   consulting...
14   bankruptcy.                                      14          Well, we have 562,000 here under
15      Q. Prior to that, prior to the                15   programs. Not all of that was legal, but
16   bankruptcy.                                      16   I would say at least three to 400,000 were
17      A. We kept it in a Vanguard Index             17   legal. I don't have the breakdown with
18   Fund, Total Stock Index Fund that was            18   me.
19   recommended by Ken French.                       19      Q. Thank you.
20      Q. Were there ever any other                  20          Let's turn to restricted and
21   investments other than that Total Stock          21   unrestricted funds.
22   Fund?                                            22      A. Okay.
23      A. The only other investments we              23      Q. Who is responsible for
24   had was when people donated stock to us          24   classifying donations as restricted or
25   for their donations, and before it could         25   unrestricted?
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 1                H. Fuchs                               1                H. Fuchs
 2      A. For the financials, I am.                     2      The direct mail pieces for donations
 3      Q. How do you go about doing that?               3      and other informational pieces on
 4      A. When a donation comes in to one               4      getting -- funding causes.
 5   of our causes, directly to one of our               5          After that, we set up doing
 6   causes -- Burn Rescue, First Step,                  6      business as accounts for First Step
 7   20/20/20 -- it's automatically restricted           7      and for Burn Rescue. So this way
 8   to the cause. So that takes care of that.           8      people could donate directly to what
 9           When a donation comes in to                 9      they wanted to and write the name of
10   WonderWork, it's reviewed -- do you want           10      the cause on the check and it would go
11   to know the now or the before we changed           11      directly to that particular bank
12   this little procedure?                             12      account as opposed to the WonderWork
13      Q. Let's go back to the beginning.              13      bank account.
14      A. Okay.                                        14      Q. Did WonderWork file any assumed
15      Q. Starting at the beginning with               15   name certificates with any government?
16   WonderWork.                                        16      A. We just -- we set up this with
17      A. So before we even had the                    17   the bank. We didn't set up a separate
18   causes, we -- at WonderWork, we did not            18   charity for them. So we just set up
19   have d/b/a's, we just had WonderWork. But          19   separate bank accounts with HSBC.
20   I did have -- I did have general ledger            20          MR. LILIEN: But did you
21   accounts for Burn Rescue, First Step,              21      alert -- did you file any paperwork
22   hydrocephalus and -- well, hole in the             22      with any government authority
23   heart and water on the brain.                      23      establishing the d/b/a's or seeking
24           When our initial mailings went             24      approval of the d/b/a's?
25   out, our WonderWork mailings went out, it          25          MS. FUCHS: Our lawyers did
                                             Page 123                                               Page 125
 1               H. Fuchs                                1               H. Fuchs
 2   was for the four causes. And if someone             2      that. Greg Lam -- Kravitz --
 3   made a donation to WonderWork, however              3      Copilevitz & Canter, who had set up
 4   they said on the donation that it was for           4      WonderWork originally as a 501(c)(3),
 5   clubfoot, burns or the heart and the water          5      so they set up the d/b/a's with the
 6   on the brain, I would then book it to the           6      appropriate legal classifications.
 7   appropriate general ledger account.                 7      Yes. We have the paperwork. That was
 8          When we decided to expand on the             8      what we gave the bank to set up the
 9   direct mail and --                                  9      bank accounts.
10      Q. And when was that?                           10      Q. So continue.
11      A. Probably in around 2012, going               11      A. So once we did that, we were
12   forward. We decided to set up these doing          12   able to raise money and it would go
13   business as so that people could see the           13   directly to the restricted account and we
14   cause as itself as opposed to in this              14   didn't have to segregate anything.
15   informational -- with the other pieces.            15   However, when money came in to WonderWork,
16          So, we set up -- well, backing              16   it normally came in unrestricted, or
17   up, we weren't getting much for hole in            17   sometimes it would say -- it would say on
18   the heart and water on the brain. So               18   the check, "I want this money to go to
19   rather than keeping sending information            19   blindness surgeries," or if it came in
20   out to those, we let those kind of fall            20   specifically to a cause, then it would go
21   through the cracks and set up the --               21   into the WonderWork bank account, but it
22          MR. LILIEN: When you say                    22   would be restricted on the general ledger
23      sending information out, what are you           23   to the cause.
24      referring to?                                   24          MR. BERKIN: The restricted
25          MS. FUCHS: The direct mail.                 25      account you are referring to, is that
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 1               H. Fuchs                               1               H. Fuchs
 2     on the income statement or the balance           2   can't recall exactly what they were.
 3     sheet?                                           3          I think there was something for
 4          MS. FUCHS: It is on the income              4   children's blood pressure. Pulse
 5     statement. Well, the balance sheet               5   oximeters.            ? That was I think
 6     has the bank accounts, the restricted            6   monitoring children after surgery who tend
 7     bank accounts. But if it came to                 7   to need to be watched more closely than
 8     WonderWork, the balance sheet is in              8   adults.
 9     the WonderWork account. But it went              9          MR. LILIEN: If not you, who
10     to the general ledger income account            10      would have that information?
11     for the cause.                                  11          MS. FUCHS: The program group.
12          MR. LILIEN: When you say money             12      They have all that.
13     is restricted to a cause, could you             13      Q. Continuing on with the story?
14     explain what that means?                        14      A. So if -- when we first -- well,
15     A. I call them causes, but it is                15   doing direct mail, the caging company,
16   what we do. The programmatic -- the               16   DMP, would get the majority of the mail
17   programs that we run for clubfoot and for         17   pieces to -- they would go to the post
18   burns and for blindness now, the money            18   office box and collect them in Hagerstown,
19   would be restricted to go to that                 19   Maryland. And it would be sorted by
20   particular cause.                                 20   cause. For the most part, WonderWork --
21          MR. LILIEN: To put it                      21   when we were soliciting for WonderWork
22     differently, how would WonderWork               22   money or for WonderWork donations, that
23     determine what uses within that cause           23   normally came to the headquarters. So,
24     the money could be spent towards?               24   the caging company would then open the
25          MS. FUCHS: Well, primarily                 25   mail, deposit the checks in the
                                            Page 127                                               Page 129
 1               H. Fuchs                               1               H. Fuchs
 2      within the causes are surgical uses,            2   appropriate bank cut.
 3      so that was where the restricted money          3          It was set up so that they had
 4      went to, grants for the surgeries.              4   access through HSBC's secure check reading
 5      Occasionally there were quality                 5   machinery to deposit the checks into each
 6      reviews that were done in the                   6   of the accounts. So, if they were doing a
 7      hospitals, or we purchased equipment            7   batch of Burn Rescue, they would deposit
 8      for some of the OR's or -- what do you          8   in the Burn Rescue account. Then the
 9      call them?                                      9   actual direct mail receipt piece that came
10          MR. LILIEN: How frequently did             10   in with the direct mail would go to their
11      that occur, that WonderWork purchased          11   input people. They would input people and
12      equipment?                                     12   they would key it in, which would then go
13          MS. FUCHS: Not frequently.                 13   directly to the database that we had in
14      Once in a while. I don't know exactly          14   place at the time.
15      which grants went for the purchase of          15          The donation process, after
16      equipment, but it was for probably eye         16   they -- after they would deposit the
17      surgeries. Some kind of -- can't               17   donations, DMP would prepare a daily cash
18      remember the name of it.                       18   deposit log, which they would then PDF to
19      Q. I have seen something to                    19   WonderWork with the information of the
20   indicate that at one point a microscope           20   daily bank deposits, so I would know how
21   was purchased for a hospital.                     21   much money went into each of the d/b/a's
22      A. Yes.                                        22   and I would be able to restrict that
23      Q. Other than that, are you aware              23   amount on the general ledger.
24   of any?                                           24          When the bank statements would
25      A. There was a few others, but I               25   come, I'd be able to reconcile the totals
                                                                            33 (Pages 126 to 129)
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 1               H. Fuchs                              1                H. Fuchs
 2   from the daily deposit logs to the bank           2      Q. At that point, who would decide
 3   statements. If the donor wanted to use a          3   whether a WonderWork check should be
 4   credit card, they would put in their              4   restricted or unrestricted?
 5   credit card number on reply device, and we        5      A. Well, DMP would send us the
 6   had separate PayPal accounts for each of          6   backup for all the donations that we sent
 7   the d/b/a's. So, they would -- DMP would          7   them, and if there was a letter or copy of
 8   be able to key in the credit card                 8   a check, they would send that to us as
 9   information, and that too would be put on         9   well. So we would see that and be able to
10   this deposit log and sent daily.                 10   restrict it if we could or not.
11          The WonderWork donations,                 11           MR. LILIEN: If there was no
12   similarly, they would come to the office.        12      letter?
13   Instead of being deposited through DMP, we       13           MS. FUCHS: Until recently it
14   would go to the bank and deposit them and        14      was just going to WonderWork, the
15   make a copy of the check, a copy of the          15      unrestricted account, until we did
16   deposit slip that the market people would        16      this massive review.
17   keep.                                            17      Q. Could you just refresh my
18          I would put the information into          18   recollection about the timing on this
19   the WonderWork bank account with the name        19   review?
20   of the donor as opposed to just a log            20      A. Well, we started around January,
21   number, because we had that detail               21   the FY '16 donations, based on the
22   information. And then the marketing              22   matching of the actual direct mail piece
23   people would upload that information to          23   that the person was responding to.
24   the database and they would keep the             24           MR. LILIEN: It started when?
25   backup of a copy of the check and copy of        25           MS. FUCHS: Around January.
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 1               H. Fuchs                              1              H. Fuchs
 2   the deposit ticket.                               2          MR. LILIEN: Of this year?
 3          If the WonderWork check had a              3          MS. FUCHS: Of 2017.
 4   specific piece of information on it that          4          MR. LILIEN: Talking about 2017?
 5   says "I want this for blindness" or "I            5          MS. FUCHS: Around there.
 6   want this for burns," then rather than            6      Q. Who made the decision to --
 7   putting it in my general ledger WonderWork        7      A. Well, BDO was wanting to confirm
 8   account, I'd put it in any general ledger         8   all the WonderWork donations to see if
 9   cause account, 20/20/20 or Burn Rescue or         9   they were restricted or unrestricted. And
10   First Step.                                      10   based on the sample that they did and the
11          And that's how it was done.               11   work that we were doing, we had -- well,
12      Q. Initially?                                 12   actually, no.
13      A. Yes. And it is still done --               13          Backing up, BDO, that was
14   well, until FY '17, it's been done like          14   afterwards.
15   that. In FY '17, there is too many               15          Based on the legal review of the
16   donations coming in to headquarters, so we       16   unrestricted donations, it was felt that
17   decided to batch them and send the               17   many of them should have been restricted.
18   WonderWork donations to DMP also so they         18      Q. When you say "based on the legal
19   could put them in the bank and put them in       19   review" --
20   the database.                                    20      A. Well, the legal review of what
21      Q. And who -- do you recall exactly           21   is considered a restricted donation.
22   when you started sending those down to           22      Q. And who made that review?
23   DMP?                                             23      A. Our legal team had been looking
24      A. When I decided to go part time.            24   at the donations for the bankruptcy. They
25   July 2016.                                       25   were reviewing the backup of the donation.
                                                                           34 (Pages 130 to 133)
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 1              H. Fuchs                                 1                H. Fuchs
 2   They wanted to see the checks and they              2           MR. LILIEN: What happened after
 3   wanted to see any letters that were sent.           3      you put the note? What was the effect
 4   But then they also wanted to see the                4      of you putting that note in the
 5   direct mail piece that the donor was                5      ledger?
 6   responding to.                                      6           MS. FUCHS: For FY '15, it
 7      Q. Why couldn't they just rely on                7      didn't, which was the problem. In FY
 8   your books and records?                             8      '16, it became restricted to a
 9      A. Because I wasn't using the                    9      WonderWork surgery account.
10   direct mail piece. And a lot of times the          10           MR. LILIEN: Once the review
11   direct mail piece was "Can you contribute          11      commenced in January 2017 to look back
12   money for surgeries," which would have             12      at the restricted determinations?
13   been restricted to surgeries, and I didn't         13           MS. FUCHS: That's correct.
14   do that.                                           14      Q. Did KPMG ever raise questions
15          A lot of our direct mail pieces             15   about the practice of sort of
16   evolved to "make a donation for surgeries"         16   retroactively allocating or retroactively
17   as opposed to just "make a donation."              17   characterizing WonderWork checks as
18      Q. If somebody sent in a check to               18   restricted or unrestricted?
19   WonderWork applied for surgeries, would            19      A. That never came up, the
20   that be deemed restricted?                         20   WonderWork checks.
21      A. It should have been but it                   21           MR. LILIEN: Walter, I may be
22   wasn't.                                            22      getting ahead of you, but I will just
23          MR. TRIVIGNO: Hold on. On the               23      ask the questions as they are
24      check, you are saying?                          24      relevant.
25      Q. Assuming either the check or                 25           MR. CURCHACK: Please.
                                             Page 135                                                   Page 137
 1                H. Fuchs                               1              H. Fuchs
 2   even if there was something in the mailing          2         MR. LILIEN: As I understand the
 3   that says, "I want my gift restricted to            3     process, the determination or final
 4   surgeries."                                         4     determination as to whether a gift is
 5      A. If it said surgeries on the                   5     restricted or unrestricted happened in
 6   check, yes, I would restrict it. But if             6     connection with the audit post-closing
 7   it didn't --                                        7     of the fiscal year. You sit down with
 8           MR. LILIEN: Hold on. You would              8     the auditors --
 9      restrict it to what?                             9         MS. FUCHS: Right. That's
10           MS. FUCHS: To surgeries, and               10     correct.
11      I'd split it up into the three                  11         MR. LILIEN: In the past,
12      classifications of surgeries.                   12     pre-BDO.
13      Q. And how would you do that?                   13         MS. FUCHS: That's correct.
14      A. Well, I would say 33, 33, 33.                14         MR. LILIEN: So just a practical
15   Or it depends -- sometimes they would say          15     question: How would restricted
16   "I want this amount to go to blindness."           16     donations be tracked during the year?
17           MR. LILIEN: But if it did not              17         MS. FUCHS: Well, I don't
18      say the amount they wanted to go to             18     actually track them during the year
19      blindness --                                    19     except for what is included in the
20           MS. FUCHS: If it just said                 20     cause accounts that I know
21      "surgeries"?                                    21     specifically are restricted because I
22           MR. LILIEN: Yes.                           22     have that number. But the
23           MS. FUCHS: I would just make a             23     WonderWork --
24      note in the GL in my description, I             24         MR. LILIEN: Were not
25      would say "restricted to surgeries."            25     restricted?
                                                                             35 (Pages 134 to 137)
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 1               H. Fuchs                                1              H. Fuchs
 2          MS. FUCHS: Yes.                              2      A. Unless the WonderWork money was
 3          (So marked for identification as             3   booked to one of the accounts. So if a
 4      Fuchs Exhibit 12.)                               4   WonderWork check came in and the check
 5      Q. I have asked the reporter to                  5   said "I want this for burns" then it's in
 6   mark as the next exhibit, Exhibit 12,               6   here.
 7   three spreadsheets. It appears to be --             7      Q. And you are the one who would
 8   let me identify them by what they say.              8   have made that notation --
 9   The first says, "Temporarily Restricted             9      A. Correct. Yes, that's correct.
10   Net Assets" at the top, and it says "Roll          10      Q. The second column after donation
11   Forward Schedule" at the bottom.                   11   says "Program Expenses." What is included
12          The second one says,                        12   in that?
13   "Temporarily Restricted Net assets" but            13      A. The program expenses are the
14   refers to "Net Assets Released from                14   monies that were given in grants to our
15   Restrictions on June 30, 2014."                    15   partner hospitals to perform medical
16          The last one says "Temporarily              16   services on the blindness, burns,
17   Restricted Net Assets FY '15" at the top.          17   clubfoot, hole in the heart and
18          Do you recognize these?                     18   hydrocephalus. We have cleft lip on the
19      A. Yes, I do.                                   19   top, but that wasn't used for this
20      Q. Can you tell us what they are?               20   exercise.
21      A. So these were the calculations               21      Q. What was the cleft lip used for?
22   that were done in conjunction with KPMG to         22      A. Well, the cleft lip was a
23   restrict -- well, to calculate what was            23   program expense. However, we did not get
24   restricted and what could be removed from          24   any donations for that particular program
25   restriction in FY '13, '14 and '15.                25   so it wasn't used in the calculation to
                                             Page 139                                               Page 141
 1               H. Fuchs                                1              H. Fuchs
 2      Q. Let's go to fiscal year 2013.                 2   release restricted funds.
 3      A. Okay.                                         3      Q. What was the source -- where did
 4      Q. Is that in fact what this is,                 4   the $450,000 go?
 5   because it doesn't have a date on it?               5      A. It went to Smile Train.
 6      A. This was the first one that was               6      Q. And why did it go to Smile
 7   prepared, yes. This was the first one               7   Train?
 8   that was prepared.                                  8      A. It was an agreement reached with
 9      Q. What does "temporarily                        9   Smile Train on -- a legal agreement back
10   restricted net assets" mean to you?                10   in FY '13.
11      A. These are the donations that                 11      Q. Where did that $450,000 come
12   were received that need to be spent on our         12   from?
13   causes, so you restrict them until you             13      A. That came from the WonderWork
14   spend them in how the donor wanted them            14   unrestricted funds.
15   spent.                                             15      Q. Now the next column says,
16      Q. And then there is -- so that is              16   "Remaining Restricted Funds Before
17   the revenue? That is what came in to the           17   Allocation" which is just column 1, minus
18   specific causes?                                   18   column 2. Correct?
19      A. That's correct.                              19      A. Yes, that's correct.
20      Q. At the time this chart was                   20      Q. Then there are some percentages.
21   prepared, this -- would this include any           21   Are those -- what do those percentages
22   money that came into WonderWork?                   22   represent?
23      A. This does not include any                    23      A. So at the time we did this
24   WonderWork money.                                  24   allocation, we weren't -- we weren't as
25      Q. Okay.                                        25   detailed as we were in the past, but if
                                                                             36 (Pages 138 to 141)
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                                             Page 142                                                 Page 144
 1               H. Fuchs                                1             H. Fuchs
 2   you look on the bottom where it says,               2   it deducts that amount from what is
 3   "Allocation to Split Among Programs" it             3   remaining restricted.
 4   says 1506807.                                       4       MR. LILIEN: To be clear,
 5          At the time of the audit, the                5   restricted funds that were treated as
 6   manager had explained to me that I am               6   restricted for WonderWork and the
 7   allowed to use this amount of money in the          7   d/b/a's, funds that were treated as
 8   calculation to release some restricted              8   restricted became unrestricted as a
 9   funds.                                              9   result of their allocation of those
10          MR. LILIEN: What does that                  10   funds to program?
11      mean, "release some restricted funds"?          11       MS. FUCHS: That's correct. So
12          MS. FUCHS: Well, when the funds             12   you have -- you have the actual
13      are restricted, you need to remove the          13   program expense and you have the
14      restriction by spending the money on            14   allocation of the program services.
15      the programs that the funds relate to.          15   That's correct.
16          MR. LILIEN: So what were the                16       And then you have what is
17      funds spent on?                                 17   remaining after you release the funds.
18          MS. FUCHS: Well. Program                    18   So, of the example 300 -- I can't see.
19      services allocation is the piece of             19   Q. I think it is 636.
20      our direct mail that we are allowed to          20       MS. FUCHS: Yes. 636,000?
21      allocate to programs. This                      21   Well, we were able to release 505,000,
22      1.5 million.                                    22   ,and so we had 130,000 remaining that
23          MR. LILIEN: What do you mean                23   gets carried over to the next year
24      you are "allowed to allocate to                 24   until you can spend that as well on
25      programs"?                                      25   the program.
                                             Page 143                                                 Page 145
 1              H. Fuchs                                 1            H. Fuchs
 2         MS. FUCHS: Based on accounting                2       MR. LILIEN: At any time when
 3     procedures, there are a certain amount            3   you were releasing the restriction,
 4     of direct mail that if it falls into              4   using restricted funds -- treating
 5     certain criteria, you can use the                 5   restricted funds as though they were
 6     expense for programs.                             6   used for mailing expenses --
 7         So the way this was done was                  7       MS. FUCHS: Yeah, the public
 8     KPMG explained to me I could use $1               8   information.
 9     and a half million in our direct mail             9       MR. LILIEN: Right. Did you or
10     expense that can release some of this            10   anyone on your staff look at the
11     program expense for the year, fiscal             11   underlying solicitation materials that
12     year.                                            12   accompanied those?
13         MR. LILIEN: Does that mean --                13       MS. FUCHS: Well, we had our
14     well, let me rephrase that.                      14   marketing company do that as well as
15         Does the release of a program --             15   the consultant that we hired to do
16     I will put it differently.                       16   that. I mean, there are certain rules
17         When money, funds are allowed to             17   that they follow as to how you can
18     be allocated to program when direct              18   treat your direct mail pieces.
19     mail expenses are allowed to be                  19       MR. LILIEN: For clarity, I am
20     allocated to program.                            20   not referring to the fund allocation.
21         MS. FUCHS: Yes.                              21   I am referring to restricted assets.
22         MR. LILIEN: What impact does                 22       MS. FUCHS: Okay. Can you
23     that have on your restricted gifts?              23   repeat the question, then?
24         MS. FUCHS: That removes that                 24       MR. LILIEN: Sure. When you
25     amount from the restricted monies, so            25   were determining whether a restricted
                                                                           37 (Pages 142 to 145)
                              TransPerfect Legal Solutions
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                                        Page 146                                                Page 148
 1             H. Fuchs                             1               H. Fuchs
 2   asset can be used for mailings or the          2      on funds, in other words, spending
 3   restricted nature of the asset can be          3      restricted funds on purposes, did you
 4   released for reporting purposes, did           4      consider whether spending restricted
 5   you look at the underlying                     5      funds on mailings would be consistent
 6   solicitation materials?                        6      with the restricted purposes for which
 7        MS. FUCHS: That's exactly what            7      the funds were raised?
 8   you look at, to see what they are              8          MS. FUCHS: Well, we considered
 9   comprised of.                                  9      that in association with the
10        MR. LILIEN: And when you looked          10      accounting policies on how you are
11   at those materials -- now, this is a          11      allowed to allocate your funds. So, I
12   function that you did?                        12      guess -- I don't know if that is a yes
13        MS. FUCHS: No. This is what              13      or no. But according to the
14   the marketing company did and our             14      accounting policies, you can -- it is
15   consultant did. I mean, I looked at           15      understandable to be able to do this
16   it also obviously, but they were the          16      kind of --
17   ones to come up with how to remove the        17   BY MR. CURCHACK:
18   restriction, how the allocation works.        18      Q. Which accounting policies are
19        MR. LILIEN: When they would              19   you talking about?
20   look at it, what is your understanding        20      A. The one that -- I can't remember
21   of what they were looking for in order        21   offhand, but I think it is 98 or
22   to determine whether a restricted fund        22   something, the accounting consultant uses
23   can be released?                              23   to determine what he can -- what he can
24        MS. FUCHS: Yes. We looked at             24   allocate to the program information.
25   it also, because you spend a lot of           25      Q. Did you ever read that?
                                        Page 147                                                Page 149
 1            H. Fuchs                              1                H. Fuchs
 2   money on direct mail and you want to           2       A. I know there are certain pieces
 3   put in there certain pieces of                 3   that you need to include in your
 4   information to alert the donor of              4   materials. Call to action, things like
 5   the -- what the mission of the charity         5   that. But I didn't read the whole...
 6   is and how it can be things that are           6       Q. So why would you have put a call
 7   helpful to them.                               7   to action into one of the direct mail
 8        MR. CURCHACK: To them, meaning            8   pieces?
 9   whom?                                          9       A. We have a brochure in our direct
10        MS. FUCHS: The donor, so that            10   mail, a little brochure in our direct mail
11   you can actually use that piece of            11   pieces that explain a lot about the
12   material to split it up amongst the           12   problem with, for example, clubfoot and
13   allocations.                                  13   how it can be treated and what needs to be
14        MR. LILIEN: I appreciate that            14   done, as opposed to just saying, "Give us
15   you may have gone through the exercise        15   money."
16   to treat what would otherwise be fund         16           So, there are pieces in our
17   raising expenses as program. I am             17   direct mail piece that explain that.
18   focusing just for the moment on the           18       Q. We'll look at some of those in a
19   restricted gifts.                             19   little while.
20        Before, you mentioned that your          20           Going back to the schedule,
21   understanding of restricted purpose           21   referring to the blindness line again?
22   meant restricted for surgical                 22       A. Yes.
23   procedures and there may have been            23       Q. If you go to the second page, I
24   some equipment. When you went through         24   see the $130,000 that you talked about
25   the exercise of releasing restrictions        25   from the first page in column A?
                                                                        38 (Pages 146 to 149)
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                                              Page 150                                                    Page 152
 1              H. Fuchs                                  1               H. Fuchs
 2      A. I see, yes.                                    2          Total expense, 5.7.
 3      Q. So that is the --                              3          We spent -- well, we had
 4      A. The rollover, carry forward.                   4   4.2 million in total that was restricted
 5      Q. Going across that line, we                     5   from FY '13 and FY '14 total. Our program
 6   talked about what these other columns are.           6   expenses were 2.6 million. Our direct
 7   Column E says, "Direct Mail Allocation Per           7   mail allocation, 3.1 million. So, the
 8   KPMGRX." What does that mean?                        8   total we could release based on that was
 9      A. Well, after the first year,                    9   5.7.
10   because we were doing so much more direct           10          However, our expenses were only
11   mail, KPMG manager actually did the                 11   4.2. So, we could release the entire 4.2.
12   allocation from the information that I              12          MR. LILIEN: When you say
13   gave him on the cost of all our direct              13      "release," again, this is important
14   mail pieces and how much in each direct             14      for us. When you say release, you are
15   mail piece was attributable to programs.            15      referring to restricted funds being
16          So, he did a spreadsheet, this               16      used, spent?
17   RX title.                                           17          MS. FUCHS: Spent. That's
18      Q. Do you know what is included in               18      correct. So we could -- we could say
19   the "Program Expenses" column on this               19      that we have spent everything that we
20   chart? 2.634?                                       20      have gotten in donations for -- which
21      A. That would be -- that would be                21      included the '13 as well -- for
22   the cost of the mail pieces used for                22      blindness.
23   blindness that were attributable -- I'm             23          So if you look at the last
24   sorry.                                              24      column, there is zero left for
25          The program expense side?                    25      blindness.
                                              Page 151                                                    Page 153
 1               H. Fuchs                                 1               H. Fuchs
 2      Q. Yes, the program expenses.                     2          MR. LILIEN: And what are you
 3      A. Oh, program expense was here.                  3      spending it on?
 4   If you look on the left column, program              4          MS. FUCHS: We are spending it
 5   expenses, 5000 program, 5100 blindness.              5      on the programs, which is the C
 6   That's the general account of how much               6      column, as well as the direct mail
 7   funds were given for the grants and things           7      allocation, which is the E column,
 8   that were given for those programs.                  8      which total to the 5.7 million.
 9      Q. So were $2.634 million given in                9          And since we only had
10   grants related to blindness in fiscal               10      4.2 million, the whole thing was
11   2014?                                               11      released.
12      A. Yes.                                          12          MR. LILIEN: Off the record for
13          40,000. Right after that is                  13      two minutes.
14   2.6 million.                                        14          (Recess.)
15      Q. A couple columns over to the                  15   BY MR. CURCHACK:
16   right it says, "Net Assets Released Per             16      Q. Other than providing this
17   Limit." What does "per limit" mean?                 17   allocation for purposes of your financial
18      A. So the total expenses that we                 18   statements, were there any other factors
19   had, if you look at the column with the             19   considered in determining what was
20   line 5.7 million, the net asset release             20   restricted or unrestricted funds for
21   per limit, we could only release -- well,           21   purposes of netting out or to come to net
22   we could actually release all of it, all            22   assets at the end of the year?
23   of the 3.1 million because we spent --              23      A. The only other one was the time
24   excuse me.                                          24   restriction.
25          We could release...                          25      Q. But --
                                                                              39 (Pages 150 to 153)
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                                            Page 154                                               Page 156
 1               H. Fuchs                               1                H. Fuchs
 2      A. Other than that?                             2   salaries and office expenses?
 3      Q. Other than accounting                        3      A. These -- no. These restricted
 4   principles, was anything else considered?          4   funds, these are what would be remaining
 5      A. No.                                          5   in the restricted funds, which -- I am
 6      Q. Is there anything in the DMI                 6   just trying to think of what you are...
 7   system that relates to the tracked                 7           In the financials, we can
 8   restricted net asset balances?                     8   allocate -- we allocate funds to the
 9      A. Not that I know of.                          9   categories. However, I do not use these
10      Q. When a donation is reclassified             10   restricted funds to pay for that.
11   between the fund codes and DMI, like when         11           MR. LILIEN: Why?
12   you take a WonderWork check and put it            12           MS. FUCHS: Well, these
13   over to 20/20/20, because someone wrote           13      restricted funds are restricted for
14   "blindness" on the check, is that then            14      the program. I don't calculate
15   reclassified in the general ledger as             15      anything on the financial statements
16   well?                                             16      to release the funds. I think at the
17      A. Well, I would classify it in the            17      end of the financial statement there
18   general ledger first. So it would be --           18      is a calculation done to tell you --
19   it would be on the check when I gave it to        19      no, it is not. I am sorry.
20   the marketing group to input.                     20           No, I don't use --
21      Q. Other than direct mail                      21           MR. LILIEN: What you are saying
22   expenses -- by that I mean printing and           22      is restricted funds are not used to
23   postage -- are there any other expenses           23      pay for compensation, for example?
24   charged against the restricted net asset          24           MS. FUCHS: The restricted
25   balances?                                         25      funds -- remaining restricted funds
                                            Page 155                                               Page 157
 1               H. Fuchs                               1               H. Fuchs
 2      A. It would just be the direct mail             2     ends up by itself. I don't know. I
 3   expense, which would include the DMI and           3     don't think it's used on that expense.
 4   the DMP in the total of all the expenses.          4          MR. LILIEN: Are restricted
 5      Q. Prior to the middle --                       5     funds used for any sort of overhead or
 6      A. Excuse me. That would be                     6     administration?
 7   included in the functional breakdown but           7          MS. FUCHS: No. No. The
 8   not in this calculation. This calculation          8     restricted funds stay restricted
 9   is just the direct mail expense for the            9     separately.
10   printing and the paper and the postage.           10          MR. LILIEN: A question for you:
11      Q. What do you mean by the                     11     Do you think it is inappropriate to
12   functional allocation?                            12     use restricted funds for compensation?
13      A. That is on the audited financial            13          MS. FUCHS: Good question. Is
14   statements, where it breaks down the              14     it inappropriate? If someone is
15   expense by the different groups. Program,         15     restricting their money for a specific
16   fund raising and management and general.          16     program, then it would be
17           This, though, is just the actual          17     inappropriate. If they are
18   direct mail expense. That includes, on            18     restricting their funds to --
19   the functional expenses in the audited            19     sometimes they have it more general.
20   financials, includes a few other expenses.        20     "I want to restrict it to --" you
21      Q. To be sure I understand what you            21     know, if they want to restrict it to
22   are saying, there are --                          22     something other than surgical
23      A. Some stragglers.                            23     programs, then fine. For the most
24      Q. There are deductions made from              24     part, it is probably not appropriate.
25   the restricted funds to pay a portion of          25          MR. LILIEN: I think this is a
                                                                           40 (Pages 154 to 157)
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                                           Page 158                                              Page 160
 1              H. Fuchs                               1               H. Fuchs
 2     foundational question. How do you               2   either on programs, on management in
 3     define "surgical programs"?                     3   general and on fund raising. And based
 4         MS. FUCHS: The surgical                     4   on -- it appears, based on the analysis
 5     programs are what we fund the                   5   that I did that year, Brian had spent way
 6     hospitals and/or medical teams that             6   more time on programmatic ventures than on
 7     are in the hospitals to do their work.          7   management in general and fund raising
 8     So we have a group -- we have a doctor          8   from what this sounds like.
 9     that will do quality assurance reviews          9          I don't have the numbers at the
10     in the hospital. So that is                    10   moment but...
11     programmatic.                                  11      Q. So does that mean that his
12         We have the medical records                12   salary would be included in the program
13     database, which is programmatic. But           13   expenses, or that 80 percent of his salary
14     we have that is restricted funds.              14   would be included in the "Program
15         We have...                                 15   Expenses" column?
16         MR. LILIEN: Okay.                          16          MR. TRIVIGNO: When you say
17         (So marked for identification as           17      "Program Expenses" column --
18     Fuchs Exhibit 13.)                             18          MS. FUCHS: Not on the
19   BY MR. CURCHACK:                                 19      allocation, no. On the functional
20     Q. I have had the reporter mark as             20      expenses in the audited financials.
21   Exhibit 13 an email thread identified by         21      This is purely restricted monies from
22   email number 023602, and the most recent         22      donors.
23   email is from Hana Fuchs to Ryan Leggett         23      Q. But would restricted monies go
24   dated April 16, 2015.                            24   to pay the portion of expenses
25         Can you tell us who Ryan Leggett           25   attributable to his time attributable to
                                           Page 159                                              Page 161
 1            H. Fuchs                                 1               H. Fuchs
 2   is?                                               2   program?
 3      A. Ryan was the manager on the KPMG            3      A. Well, the way the restricted
 4   account.                                          4   money is rolled over and remains
 5      Q. If you go down to the bottom of             5   restricted does not include that.
 6   the first page, the last paragraph says,          6          MR. LILIEN: Can you maybe
 7   "One other item though. I was able to             7      answer Walter's question?
 8   look into what was driving the reduction          8          MS. FUCHS: Sorry.
 9   in M&G expense and M&G salary expense. It         9          MR. CURCHACK: Can you read the
10   appears that Brian's allocation of salary        10      question, please?
11   changed from 40 percent program in 2013 to       11          (Record read.)
12   80 percent program in 2014."                     12      A. It doesn't.
13          Do you recall knowing that?               13      Q. It doesn't?
14      A. I must have known it. It's                 14      A. No, it doesn't.
15   here.                                            15      Q. So restricted funds are not used
16      Q. Well --                                    16   to pay those expenses?
17      A. Yes.                                       17      A. Correct.
18      Q. What does it mean to say that              18          MR. LILIEN: What does, in this
19   Brian's salary allocations changed from          19      context, when you say Brian worked
20   40 percent program to 80 percent program?        20      80 percent program, can you just
21      A. At the end of the year when I              21      explain to me what he did, what
22   review the staff salaries and benefits for       22      program activities he spent 80 percent
23   the allocation of those expenses on the          23      of his time on?
24   functional expense allocation, we                24          MS. FUCHS: His usual travelling
25   determine how much time they have spent          25      to the partner hospitals and reviewing
                                                                          41 (Pages 158 to 161)
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                                             Page 162                                              Page 164
 1              H. Fuchs                                 1               H. Fuchs
 2     the type of work that they do. And he             2          MR. CURCHACK: I am going to now
 3     does that with DeLois a lot. Would be             3      ask the reporter to mark as Exhibit 14
 4     considered programmatic. How he                   4      an email from Vera Eastman to you
 5     reviews the grant application -- he               5      dated March 20, 2017, together with a
 6     does some grant review and he writes a            6      spreadsheet that has at the bottom
 7     lot of the direct mail pieces, which              7      0019930.
 8     would include the public information              8          (So marked for identification as
 9     piece.                                            9      Fuchs Exhibit 14.)
10         So when I look at the time                   10      Q. Do you recognize this email?
11     allocation for all the staff, I look             11      A. From Vera? Yes.
12     at what they have been doing.                    12      Q. Can you tell us what this
13         MR. LILIEN: Just in terms of                 13   spreadsheet shows?
14     the public information pieces, does              14      A. This is from FY '17 in our
15     Brian write the public information               15   general ledger. I had given Vera a
16     pieces?                                          16   download of what I had booked from the
17         MS. FUCHS: He writes some of                 17   general ledger through December 29th and
18     them. Some of them we glean from                 18   what was in the accounts for WonderWork
19     other pieces of material. But in some            19   Burn Rescue, First Step and 20/20/20.
20     of the pieces that are written, it is            20          They went through the database
21     Brian's language. I don't know                   21   to show me -- well, to explain to me which
22     exactly at the moment, but looking               22   donations needed to be classified in
23     through the pieces, when our                     23   different accounts that I had.
24     consultant reviews it, he outlines               24      Q. Now, I understand from your
25     which is programmatic. It is usually             25   previous statements why a gift might be
                                             Page 163                                              Page 165
 1               H. Fuchs                                1               H. Fuchs
 2      written by Brian.                                2   moved into 20/20/20 from WonderWork, but
 3   BY MR. CURCHACK:                                    3   why would a gift be moved from 20/20/20
 4      Q. Could you tell us again what the              4   into WonderWork?
 5   purpose of including that information is?           5      A. The gifts -- it may have been
 6      A. The purpose of including program              6   just deposited in the wrong bank account,
 7   information in a direct mail piece?                 7   but I am not sure in particular. I'd have
 8      Q. Yes.                                          8   to look at each one.
 9      A. It's information to the public                9          Well, backing up a little, in FY
10   as to many things. One is, if it is on             10   '17 we started having DMP deposit all of
11   blindness, how you can prevent blindness,          11   the WonderWork donations. And perhaps
12   how you can detect certain issues, how --          12   they just made some mistakes because they
13   what our mission is in this -- you know,           13   put them in the wrong bank account. And
14   in our charity.                                    14   in doing so, it was booked to WonderWork
15      Q. Is part of the mission of                    15   and it should have been booked to a cause.
16   WonderWork to prevent blindness?                   16      Q. But similarly, you are
17      A. It's to make the public aware of             17   suggesting that there could have been a
18   issues that may cause blindness in the             18   check deposited into the 20/20/20
19   Third World countries, not -- we can't             19   account --
20   prevent it, no.                                    20      A. Could have been.
21      Q. But it is directed -- it is                  21      Q. -- that wasn't the result of a
22   intended to relate to programs providing           22   20/20/20 solicitation?
23   or addressing needs in Third World                 23      A. Possibly. I actually made that
24   countries?                                         24   mistake once or twice when it was in the
25      A. That's correct. Yes.                         25   bank. And just in my haste to get things
                                                                            42 (Pages 162 to 165)
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                                             Page 166                                               Page 168
 1               H. Fuchs                                1               H. Fuchs
 2   deposited -- I use ATM machine to deposit           2          (So marked for identification as
 3   the checks and I hit the wrong account.             3      Fuchs Exhibit 15.)
 4      Q. The salmon lines on the chart,                4   BY MR. CURCHACK:
 5   salmon-colored lines, all say "microscope           5      Q. Do you recognize this
 6   gift." Are those donations to purchase              6   transaction report?
 7   the microscope we were talking about                7      A. This looks like it is part of a
 8   before?                                             8   download from the general ledger from my
 9      A. That's correct. I think it --                 9   donations.
10   no. Well, if this is FY '17, I am not              10      Q. What does the column labeled
11   sure.                                              11   "Split" mean?
12      Q. Well, according to this chart,               12      A. The column "Split"? This column
13   those checks were deposited 12/28, 12/15           13   is the bank account. Or if there were a
14   and 12/22 of 2016.                                 14   journal entry, it would say "split"
15      A. I have to -- I am not sure about             15   because it wouldn't have the two accounts
16   this microscope, but there might have been         16   for the journal entries. So this just
17   some fund raiser or something for                  17   right now has bank account.
18   microscopes. I honestly don't remember.            18          MR. LILIEN: Sorry. What does
19      Q. If someone gave money to                     19      the word "split" mean in this context?
20   purchase a microscope, would that be               20          MS. FUCHS: In the download of
21   recorded as a donation in kind?                    21      the GL on QuickBooks, when it says
22      A. No. We would record that as a                22      "split" in a line, there is usually
23   restricted gift for a microscope for               23      two lines, like a journal entry line
24   whatever -- if it was blindness or if it           24      with the two accounts that it would
25   was just something else. I have to go              25      come from or go to.
                                             Page 167                                               Page 169
 1              H. Fuchs                                 1              H. Fuchs
 2   back and double-check on this. I am                 2          But this just is the bank
 3   sorry.                                              3      account. There is no split on there.
 4          MR. LILIEN: Len, if you can                  4      Just one account number.
 5     help get information on this? Was                 5      Q. What is the connection between
 6     this for multiple microscopes, one                6   the amount and the balance columns?
 7     microscope and where the donor is                 7      A. The balance is a running total
 8     giving the money with the intent of               8   and it has no -- it has no relevance to
 9     purchasing a microscope?                          9   this information as it stands. It would
10          MR. TRIVIGNO: Sure.                         10   be if you had the full printout, and it
11          MR. CURCHACK: Can we please                 11   would be at the end of the account number.
12     mark the next exhibit, an email from             12   It would be running balance as it went
13     DeLois Greenwood to a number of                  13   down the account. So that doesn't have
14     people, including you, dated March 27,           14   any relevance on this page since it is
15     2017? Attached to that is a very long            15   just the specific transactions that are
16     document called "Transaction Report"             16   highlighted.
17     that has production numbers emails               17      Q. Thank you.
18     0019894 --                                       18          After the --
19          (Discussion held off the                    19          MR. LILIEN: Let me just ask you
20     record.)                                         20      a question. The line on the email
21          MR. CURCHACK: The attachment to             21      from DeLois to you and others says,
22     the email is labeled "WonderWork                 22      "Seems your reconciliation process has
23     Transaction Report,                              23      some issues. Need to work it out so
24     July 2015-June 2016," a two-page                 24      Hana and your numbers agree."
25     document.                                        25          What is that a reference to?
                                                                             43 (Pages 166 to 169)
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                                                 Page 170                                                Page 172
 1               H. Fuchs                                    1               H. Fuchs
 2          MS. FUCHS: Well, I am not sure                   2      Q. As a result of the work that BDO
 3     about this particular -- this                         3   is doing in connection with their audit,
 4     particular dump that DeLois sent out.                 4   do you anticipate a change in the balances
 5     But in general, when we were trying to                5   of restricted and unrestricted funds?
 6     come up with the restricted numbers                   6      A. Based on our last review, we are
 7     for the causes and for WonderWork,                    7   increasing the WonderWork restricted
 8     what I did is I downloaded my general                 8   number by about $900,000.
 9     ledger and said we needed to find each                9      Q. When you say "increasing," do
10     donation and see where it led, whether               10   you mean --
11     it was truly WonderWork for a                        11      A. From the FY '15 back look.
12     particular cause or for surgeries or                 12      Q. Let me show you a letter your
13     was it a cause that was in the wrong                 13   counsel wrote to the United States Trustee
14     place.                                               14   dated April 25, 2017.
15          So we needed to match what Janet                15          (So marked for identification as
16     and Vera had in their database to what               16      Fuchs Exhibit 16.)
17     I had in my general ledger. That was                 17      Q. Have you seen this letter
18     the process we were going through.                   18   before?
19     And so if, it was -- if I had it in a                19      A. Possibly. Oh, yes, I did. I
20     blindness account, they had to make                  20   have seen the letter. I see the
21     sure that their DMI account for the                  21   spreadsheet in the back. I worked on
22     donor was in a blindness account. And                22   that. Sorry.
23     if not, we needed to figure out where                23      Q. When you say you anticipate the
24     it really belonged.                                  24   restricted funds increasing by 900,000 --
25          So it was part of what we were                  25   by approximately $900,000, is that a
                                                 Page 171                                                Page 173
 1               H. Fuchs                                    1               H. Fuchs
 2      doing to find out what was restricted                2   change from these numbers that are
 3      or unrestricted.                                     3   reflected on page 3 of this letter?
 4   BY MR. CURCHACK:                                        4      A. Yes. Correct.
 5      Q. If there are funds contributed                    5          MR. LILIEN: Relatedly, do you
 6   on the website, through the website, are                6      anticipate changing any numbers on the
 7   those treated as restricted or                          7      expense side, how restricted funds
 8   unrestricted?                                           8      have been used?
 9      A. We have four accounts on our                      9          MS. FUCHS: Well, what I
10   website, the WonderWork, Burn Rescue,                  10      changed -- what I changed was I booked
11   20/20/20 and First Step. Right now they                11      an expense to the WonderWork number
12   are all restricted for each of the                     12      from FY '15 that wasn't there
13   accounts, WonderWork, Burn Rescue,                     13      originally because we didn't have FY
14   20/20/20 and First Step. In the past,                  14      '15. So that changed that particular
15   they weren't. The WonderWork account                   15      number, but --
16   wasn't, but now they are.                              16          MR. LILIEN: What was the
17      Q. Why is WonderWork now                            17      change?
18   restricted?                                            18          MS. FUCHS: It was a few -- it
19      A. Our website now says that all                    19      was about a hundred thousand dollars
20   your money is going to be used for                     20      in grants that were given to hospitals
21   surgical programs. I think that is on the              21      in FY '15 that says use it for like
22   website now, so it is restricted.                      22      clubfoot and blindness or use it for
23      Q. By "surgical programs," you are                  23      two causes instead of one. So that
24   referring to the grants to hospitals?                  24      was in the WonderWork account.
25      A. Correct.                                         25          When I double-checked that, I
                                                                                 44 (Pages 170 to 173)
                              TransPerfect Legal Solutions
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                                                 Page 174                                               Page 176
 1              H. Fuchs                                     1               H. Fuchs
 2     said well, release that now. I am                     2   is 98, but I might be wrong. That relates
 3     waiting for BDO to go over that                       3   to how you can account for the different
 4     tomorrow.                                             4   categories. We have a consultant who does
 5          MR. CURCHACK: Why don't we take                  5   that for us.
 6     a break.                                              6      Q. What are the types of costs that
 7          (Recess.)                                        7   get jointly allocated?
 8          MS. FUCHS: I just wanted to                      8      A. The direct mail expense costs
 9     clarify something I said earlier,                     9   would be the costs directly allocated,
10     which after I left, I remembered it                  10   jointly allocated.
11     wasn't quite right. I think I                        11      Q. Does WonderWork allocate any of
12     mentioned WonderWork web donations                   12   the joint costs to the restricted net
13     were restricted to surgeries. It is                  13   asset accounts?
14     really surgical programs, not just                   14      A. The joint costs that are
15     surgeries.                                           15   allocated to the restricted accounts are
16          I wanted to make a point of that                16   the cost for the various direct mail
17     as opposed to saying the WonderWork                  17   pieces for each of the causes. So, yes.
18     donations from the website were                      18      Q. I would like to turn to the 2015
19     restricted to surgeries.                             19   charity CHAR500 form, Exhibit 8,
20          MR. LILIEN: In your mind, what                  20   particularly to page 0293. Can you tell
21     is the distinction between surgeries                 21   us what this is?
22     and surgical programs?                               22      A. This is a schedule of functional
23          MS. FUCHS: Well, the programs                   23   expense-by-expense categories, so this is
24     can be used for a number of things                   24   a breakdown of expenses by program,
25     other than just having a surgery. The                25   management and general and fund raising.
                                                 Page 175                                               Page 177
 1               H. Fuchs                                    1               H. Fuchs
 2      program can be used for other things,                2     Q.    Now, which of these expenses?
 3      like equipment or Q/A reviews or                     3          What do you think "program
 4      things like that for the hospital, not               4   services" entails, encompasses?
 5      just having surgery.                                 5      A. Program services would be
 6   BY MR. CURCHACK:                                        6   expenses relating to the deliverance of
 7      Q. Other things related to                           7   our mission and programs. So, the way we
 8   performing the surgeries?                               8   alerted the public, the way our management
 9      A. Pretty much, yes, related to                      9   group works on the programs. It's all the
10   that, but not just a surgery.                          10   aspects of how we actually run our
11      Q. I want to ask a series of                        11   charity.
12   questions, some of which may have been                 12      Q. Where does the money to pay the
13   addressed already, but I want to have                  13   program services come from?
14   clear answers to the extent we can.                    14      A. The expenses for the program
15          What does "joint cost                           15   services are from our donations.
16   allocation" mean to you?                               16      Q. Other than grants and in-kind
17      A. To me, the joint cost allocation                 17   services, which of the remaining expense
18   is an expense that can be shared between               18   items on this table would be charged
19   various categories of expenses.                        19   against the restricted fund account?
20      Q. Okay.                                            20      A. On the table here, if you look
21          And what kind of -- what kind of                21   at the printing, publication and postage
22   accounting guidance affects that or                    22   account, the part -- part of the total
23   provides a standard?                                   23   expense of the $6 million would be
24      A. There is a standard -- I don't                   24   allocated to cover expenses for programs,
25   remember exactly the number. I think it                25   that $4 million, 4.4 million.
                                                                                 45 (Pages 174 to 177)
                              TransPerfect Legal Solutions
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                                              Page 178                                               Page 180
 1               H. Fuchs                                 1              H. Fuchs
 2      Q. So that roughly $4 and a half                  2      I know specifically what it's been
 3   million, in your mind, could be paid with            3      used for. But other than that, it's
 4   restricted funds?                                    4      the end of the year.
 5      A. That's correct.                                5          MR. CURCHACK: Can we please
 6      Q. And that allocation again is                   6      mark as next exhibit --
 7   based on the ratios that you were given by           7          MR. LILIEN: Sorry, Walter. One
 8   Greg Ellis?                                          8      more question?
 9      A. Yes. Gary Ellis.                               9          What does the depreciation in
10      Q. Gary Ellis. Sorry.                            10      the context refer to?
11      A. Yes.                                          11          MS. FUCHS: This is the fixed
12      Q. The other line items there,                   12      asset depreciation and amortization
13   salaries, professional consulting,                  13      expense category line.
14   occupancy, office supplies, depreciation            14          MR. LILIEN: What are the fixed
15   and travel, can those be paid with                  15      assets you are referring to?
16   restricted funds?                                   16          MS. FUCHS: Our office
17      A. We don't use -- well, I don't                 17      equipment, computers, desks,any other
18   use restricted funds to pay the other               18      equipment. Chairs, tables, conference
19   expense categories, only the grants and             19      room screens.
20   the printing and publications, to release           20   BY MR. CURCHACK:
21   the restrictions.                                   21      Q. How is that amount allocated?
22      Q. So all of those expenses from                 22      A. In terms of this reporting
23   those lines are paid with --                        23   structure?
24      A. With unrestricted.                            24      Q. Yes.
25      Q. Has that always been the case                 25      A. Usually use the same percentages
                                              Page 179                                               Page 181
 1               H. Fuchs                                 1               H. Fuchs
 2   for WonderWork?                                      2   as I would for like occupancy and, really,
 3      A. That's correct.                                3   salaries. If I see the number of people
 4          MR. LILIEN: I have a couple of                4   and I know the people are allocated to
 5      questions.                                        5   certain programmatic versus support
 6          MS. FUCHS: Sure.                              6   services expenses, I take that pretty much
 7          MR. LILIEN: If you don't                      7   the same percent and I use it for a lot of
 8      determine what is restricted or                   8   these allocations.
 9      unrestricted until the end of the year            9           MR. LILIEN: Another moment on
10      until the audit process, during the              10      salaries and related expenses. I see
11      course of the year how would you know            11      that you allocated the bulk of it to
12      which funds can be spent for                     12      program services?
13      restricted purposes?                             13           MS. FUCHS: Correct.
14          MR. CURCHACK: Or which funds                 14           MR. LILIEN: How have you made
15      should not be spent for unrestricted             15      the determination to allocate most of
16      purposes?                                        16      it to program services?
17          MS. FUCHS: The funds during the              17           MS. FUCHS: What I do is I take
18      course of the year are commingled in             18      the salaries for everybody over the
19      the bank. I pay everything out of the            19      course of the year and add in the
20      WonderWork bank account, so the only             20      benefits and then figure out, based on
21      time I know how much is remaining is             21      each person, how much time they devote
22      when I do the exercise at the end of             22      to programs or management in general
23      the year or when there is a particular           23      or fund raising. So, there are
24      restricted account that is set up,               24      certain people that all they do is
25      like the medical records database that           25      program work, DeLois and Tiffany. So,
                                                                              46 (Pages 178 to 181)
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 1               H. Fuchs                                1              H. Fuchs
 2      100 percent of their salary line would           2     help program group? No. I mean,
 3      be programs. Brian, it depends on                3     there is general information that they
 4      what he's been, I will allocate it               4     do for the board meeting on, you know,
 5      that way.                                        5     how much...
 6          I use that line --                           6          MR. LILIEN: What about your
 7          MR. LILIEN: Well, take Janet,                7     salary? How is that allocated?
 8      for example. How would you allocate              8          MS. FUCHS: Pretty much to
 9      Janet's salary?                                  9     management and general.
10          MS. FUCHS: Well, I would use                10          MR. LILIEN: Your salary --
11      her -- the work she does on direct              11     well, I am looking at that line,
12      mail, which includes the work that              12     "Salaries and Related Expenses in 2015
13      Gary Ellis has done in allocating the           13     for fiscal year ended June 30, 2015."
14      expense line of direct mail, so I               14     It is about $99,000 in management and
15      would use some of that number in her            15     general and your salary, then, I
16      allocation, similarly to that.                  16     recall was roughly $200,000?
17   BY MR. CURCHACK:                                   17          MS. FUCHS: In that time,
18      Q. For clarification, meaning you               18     probably, yes.
19   would divide her expense in the same ratio         19          MR. LILIEN: So what would you
20   as the direct mail expenses?                       20     have allocated your salary to other
21      A. Pretty much, yes. Then after I               21     than management and general?
22   do all that with everybody's salary, I go          22          MS. FUCHS: I would put part of
23   to the bottom line and figure out what             23     it in programs depending how much I
24   totals program, what totals fund raising,          24     worked with the program group in
25   what totals percentage-wise.                       25     paying the grants and reviewing the
                                             Page 183                                               Page 185
 1              H. Fuchs                                 1               H. Fuchs
 2         MR. LILIEN: Go back to Janet                  2      documentation on the grants.
 3     just for a moment. Aside from                     3          MR. LILIEN: How often would you
 4     including the inserts, the public                 4      do that?
 5     health information inserts into the               5          MS. FUCHS: We would do that
 6     mailings, does Janet perform any other            6      pretty much once a month for a couple
 7     educational programs, programmatic                7      of hours.
 8     activities?                                       8          MR. LILIEN: Other than that, is
 9         MS. FUCHS: Well, she reads                    9      there anything else that you worked on
10     everything, makes sure it's correct              10      from a programmatic perspective?
11     and -- you'd have to ask her what more           11          MS. FUCHS: Keeping track of all
12     she does.                                        12      program expenses and sending out the
13         MR. LILIEN: I am asking you                  13      grants and pretty much handling the
14     because you have done the allocation.            14      flow of the money to the partners.
15         MS. FUCHS: That is kind of what              15   BY MR. CURCHACK:
16     I do using the direct mail allocation            16      Q. You mentioned there is
17     because that is what she works on, and           17   information included in some of the
18     the database.                                    18   mailings which is used to support the
19         MR. LILIEN: Are you aware if                 19   allocation of the printing cost between
20     Janet does any programmatic activity             20   program and other. Is that correct?
21     other than including the inserts into            21      A. Yes.
22     the fund raising mailings?                       22      Q. What kind of information gets
23         MS. FUCHS: What programmatic                 23   included?
24     besides reading the information and              24      A. I'd have to look at a piece that
25     working on the program charts that               25   Gary Ellis divided up and see what he did.
                                                                             47 (Pages 182 to 185)
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                                             Page 186                                                     Page 188
 1               H. Fuchs                                1               H. Fuchs
 2   But I am not that familiar with the direct          2   with the exact amount of each piece, and
 3   mail pieces.                                        3   that is how we get that expense amount.
 4      Q. Do you know how WonderWork gets               4          MR. CURCHACK: I've asked the
 5   the information to be included?                     5      reporter to mark as Exhibit 17 three
 6      A. That is another marketing piece               6      copies of what... copies of what
 7   of information. They would be able to               7      appear to be three mailings. One is
 8   tell you better. And also program people            8      for 20/20/20 and begins with
 9   get it from some -- I don't know. Some              9      production number 9021 through 9030.
10   websites and things. But that would be             10      The second is for Burn Rescue, and
11   more for programs.                                 11      production numbers begin 9061 and run
12      Q. Who is WonderWork trying to                  12      through 9069. The last one is for
13   educate through this public education?             13      First Step, and begins with production
14      A. Well, it's for the general                   14      number 9070 and runs through 9078.
15   public.                                            15          (So marked for identification as
16      Q. The people who are receiving --              16      Fuchs Exhibit 17.)
17      A. Receiving the direct mail piece.             17      Q. Looking first at the 20/20/20
18      Q. Does WonderWork ever send out a              18   mailing, can you tell me what is the
19   public education campaign that doesn't             19   public information aspect of this mailing?
20   include a reply device?                            20      A. I don't go through this. Gary
21      A. I don't know. Janet would be                 21   Ellis does. So I can't tell you what he
22   able to tell you that.                             22   considers right now to be public
23      Q. Does WonderWork send public                  23   information. He will go through this and
24   education material to current donors? In           24   outline what he considers to be public
25   other words, any renewal piece?                    25   information and then I will take a look at
                                             Page 187                                                     Page 189
 1              H. Fuchs                                 1                H. Fuchs
 2      A. Again, I would defer to Janet                 2   it, but I can't tell you right now what I
 3   for that. My guess is yes, but I am not             3   consider to be public information.
 4   sure so I don't want to really guess.               4           MR. LILIEN: To the best of your
 5      Q. So when it comes time to do the               5       knowledge, what procedures or
 6   allocations at the end of the year, what            6       protocols does Gary follow in making
 7   do you do to confirm the amount that is             7       that determination?
 8   attributable to program as opposed to the           8           MS. FUCHS: Well, he has a list
 9   other categories?                                   9       of what he considers, which he sends
10      A. Well, each piece, Janet and Vera             10       me when he finishes it. And it is on
11   compile the expense for each of the pieces         11       the back of the piece that he has done
12   because each piece has its own code, and           12       as to what -- and then he outlines the
13   they know exactly how much it cost to              13       document in different colors and says
14   print, postage, do whatever to each piece.         14       what it's for.
15   So, Gary Ellis would do the actual                 15           But information about cloudy
16   percentage of the piece by the line count          16       lenses and your vision here on --
17   that he does.                                      17           MR. LILIEN: Before you get into
18          Going back to the actual direct             18       that, how would you know, after he
19   mail piece, so he will count the lines and         19       sends it to you, that he's right?
20   determine what pieces of the piece are             20           MS. FUCHS: I just rely on him.
21   allocated to either public information,            21       I don't really know. It's his
22   management and general, fund raising.              22       background.
23   Then each piece has an associated cost, so         23           (So marked for identification as
24   Janet and Vera will fill in the                    24       Fuchs Exhibit 18.)
25   spreadsheet he sends with the percentages          25   BY MR. CURCHACK:
                                                                              48 (Pages 186 to 189)
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                                             Page 190                                                Page 192
 1              H. Fuchs                                 1               H. Fuchs
 2      Q. Can you tell us what Exhibit 18               2   that people need to heed, which would be
 3   is?                                                 3   about an eye exam, about family eye
 4      A. Do you want me to explain this ?              4   health, eat right, maintain a healthy
 5      Q. Yes, please.                                  5   weight, wear protective eyewear, quit
 6      A. Sure. This would be a package                 6   smoking.
 7   of information that -- one of the packets           7      Q. How are those related to
 8   that Gary Ellis would send us back after            8   providing surgeries for people in
 9   we have sent him PDF's of the mailing, the          9   underdeveloped countries?
10   direct mail piece. And this is his                 10      A. Well, this is the informational
11   analysis of this particular piece called           11   piece about what a person needs to know
12   "Priya Hoodie Control." It's the name of           12   about blindness and not providing the
13   the package. And the theme, what's                 13   surgeries. This is the way, I think, the
14   included.                                          14   call to action is defined in the public
15          And based on this particular                15   information.
16   package, he is saying what he's got in the         16      Q. So why is that relevant to
17   public education content and information           17   someone who is being asked to solicit
18   about blindness and a call to action.              18   money to 20/20/20?
19          What he does is he highlights               19      A. This is educating the public on
20   the passages that he considers the                 20   issues with blindness, not just 20/20/20.
21   different categories in colored marker.            21   So that is part of the call to action.
22   So, you are missing the color. It would            22      Q. How much is Mr. Ellis paid, if
23   be easier that way.                                23   you know?
24      Q. The first two pages is a                     24      A. He gets a hundred dollars for
25   separate document than the balance, which          25   each piece that he analyzes.
                                             Page 191                                                Page 193
 1               H. Fuchs                                1               H. Fuchs
 2   appears to be a copy of a mailing that is           2      Q. A hundred dollars? Do you know
 3   marked.                                             3   how long it takes him to do each one?
 4      A. Right. Gary provides the first                4      A. I really don't know.
 5   two pages on the particular direct mail             5      Q. Do you know how many in a given
 6   piece that he's analyzed. And the two               6   year he does?
 7   pages consist of how he breaks out the              7      A. For WonderWork?
 8   public education content and the call to            8      Q. Yes.
 9   action.                                             9      A. It depends. I don't have the
10      Q. If you go to the bottom of the               10   count right now, but it could be -- I
11   first page, where it says "Calls to                11   think -- I can't guess at that.
12   action," the first thing is "Reply                 12          MR. LILIEN: What, roughly, what
13   device." Now, what is the action that is           13      do you pay him a year?
14   being called for there?                            14          MS. FUCHS: He gets paid usually
15      A. Well, what he is saying is                   15      the whole thing at once. So we give
16   "Please send me update about 20/20/20 and          16      him all the pieces or all the ones
17   to watch the Two Sisters video on the              17      that we feel are different -- in one
18   website." That's part of the --                    18      case, if a piece is very similar, we
19      Q. How is that a call to action?                19      don't give it to him. If we have
20      A. That, he would have to explain               20      three pieces that look exactly like
21   to you.                                            21      this with maybe one or two variances,
22      Q. The --                                       22      we wouldn't give it to him.
23      A. Excuse me. Another point would               23          So I am trying to think. I
24   be the information about the blindness             24      don't know. Maybe 50, the last time
25   insert. These are all calls to action              25      we gave him 50 or more different
                                                                             49 (Pages 190 to 193)
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                                             Page 194                                               Page 196
 1               H. Fuchs                                1                H. Fuchs
 2      variations of pieces that we sent out.           2      A. Correct.
 3      It could be more. I don't know.                  3      Q. Where in the letter does it say
 4      Q. The balance of that exhibit is                4   anything about the insert?
 5   what he marked up. Is that correct? The             5      A. I don't think it's in the
 6   rest of what is in this exhibit --                  6   letter, but I don't know. I'd have to
 7      A. That is the actual direct mail                7   read the letter. I think it just goes in
 8   piece that he would highlight, yes.                 8   the envelope.
 9   That's correct.                                     9      Q. And does WonderWork -- has
10          MR. LILIEN: Has Mr. Ellis ever              10   WonderWork, to your knowledge, ever asked
11      commented on the content or made                11   a donor to give money to enable it to send
12      suggestions for improving it?                   12   out materials like the "information about
13          MS. FUCHS: The content?                     13   blindness" insert?
14          MR. LILIEN: The public                      14      A. I wouldn't know that.
15      information piece.                              15      Q. Have you ever seen a WonderWork
16          MS. FUCHS: Not to me he hasn't.             16   mailing that requested funds to enable it
17      No.                                             17   to send out information about
18      Q. Do you know whether Target                   18   blindness-type brochures?
19   Market Team provided -- sorry. Did their           19      A. I haven't seen it.
20   allocation in the same way?                        20      Q. Who would be the person who
21      A. They did a word count, not a                 21   would have the most communication with
22   line count. But it was similar in reading          22   Mr. Ellis? Who from WonderWork would have
23   the information.                                   23   the most communication with Mr. Ellis?
24      Q. If you go back to the exhibit                24      A. Well, Janet and Vera put
25   and you look at the print on the                   25   together the mailing packages -- well,
                                             Page 195                                               Page 197
 1               H. Fuchs                                1              H. Fuchs
 2   information about blindness insert                  2   they are together already, but they would
 3   compared to the rest of the mailing, it             3   send him the PDF's of all the mailings,
 4   would seem there is a pretty heavy                  4   and he contacts me with the information
 5   weighting towards the information about             5   when he does the review.
 6   blindness.                                          6      Q. Okay.
 7      A. Yes.                                          7      A. Initially I would contact him
 8      Q. Would you agree?                              8   regarding, "We need the review done."
 9      A. Yes, I agree.                                 9      Q. Did you ever have any
10      Q. What would be the reason for                 10   discussions with any member of the board
11   doing that?                                        11   about the joint cost allocation?
12      A. Well, it is sentences of the                 12      A. Not that I recall.
13   maybe that sentence is here. It is not             13         (So marked for identification as
14   really a whole line.                               14      Fuchs Exhibit 19.)
15          I thought it was a line count               15      Q. I have asked the reporter to
16   that he used.                                      16   mark as Exhibit 19 an email thread. The
17      Q. But I'm asking, if one were to               17   top one is from Hana Fuchs to Greg Lam
18   do a word count, where does it appear that         18   dated February 2, 2015.
19   most of the words appear?                          19         Could you tell us who Greg Lam
20      A. Oh, pretty much in the brochure,             20   is?
21   information about blindness. That's                21      A.
22   actually a little brochure.                        22
23      Q. For the record, by the brochure,
24   you mean this information about blindness
25   insert?
                                                                             50 (Pages 194 to 197)
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                Page 198                                                Page 200
 1                          1               H. Fuchs
 2                          2   that while in the financial statement
 3                          3   salaries are attributed to different
 4                          4   elements, including programs and other,
 5                          5   that nevertheless they would not be paid
 6                          6   from restricted funds. Is that correct?
 7                          7      A. That's correct.
 8                          8          MR. LILIEN: Has that always
 9                          9      been the case?
10                         10          MS. FUCHS: Yes.
11                         11      Q. So, would it be correct to
12                         12   assume, then, that even though certain
13                         13   legal expenses were attributed to program
14                         14   for purposes of the financial statement
15                         15   presentation, that those fees, those legal
16                         16   fees would not be paid with restricted
17                         17   funds?
18                         18      A. They were not paid with
19                         19   restricted funds. Yes, that's correct.
20                         20      Q. When did WonderWork start
21                         21   including language that said "100 percent
22                         22   of your donation will go toward surgeries"
23                         23   or something like that?
24                         24      A. You'd have to ask Janet for
25                         25   that. I think it was for FY '17, but I am
                Page 199                                                Page 201
 1                          1               H. Fuchs
 2                          2   not entirely correct -- I mean, I am not
 3                          3   sure. Janet does the direct mail so she
 4                          4   would be able to tell you that. ((It's
 5                          5   "information about blindness" insert).
 6                          6          (So marked for identification as
 7                          7      Fuchs Exhibit 20.)
 8                          8      Q. The next exhibit consists of
 9                          9   three separate solicitations or draft
10                         10   solicitations. The first one is
11                         11   production number WON 06087 through 06092.
12                         12   The second is a one-page -- it looks like
13                         13   a form letter, WON 06164. The last one is
14                         14   a letter dated November 2, 2016, with
15                         15   production number WON 06120 through 06122.
16                         16          Do you recall seeing these?
17                         17      A. I don't really receive these to
18                         18   review, but these are FY '17
19                         19   solicitations. But I --
20                         20      Q. Okay. Turn to page 06088. In
21                         21   the middle of the page is a paragraph that
22                         22   begins, "We are very proud that our
23                         23   overhead and admin expenses are extremely
24                         24   low. Even better, one of our founding
25                         25   donors pays for all of our non-program
                                                51 (Pages 198 to 201)
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                                             Page 202                                                Page 204
 1              H. Fuchs                                 1               H. Fuchs
 2   expenses so that 100 percent of all                 2   have surgical programs?
 3   donations, including yours, can go towards          3      A. No, but we started a new account
 4   programs."                                          4   for the WonderWork surgical program
 5          Now let's turn to production                 5   restriction, and that would be -- that
 6   number 06164. There is a paragraph that             6   would be how it would be restricted. And
 7   begins, "I want you to know." Do you see            7   this would be FY '17.
 8   that?                                               8      Q. What was the basis for the
 9      A. Yes, I see it.                                9   hundred percent claim?
10      Q. I will read that sentence. "I                10      A. Again, you'd have to ask Brian
11   want you to know also that we will use             11   about that.
12   100 percent of your donation for our free          12      Q. What did you understand the
13   surgery programs." Okay?                           13   hundred percent language to mean?
14          Then go to 06120. At the bottom             14      A. That we would restrict
15   of the page, there is a statement that             15   100 percent of the donation to our
16   says, "100 percent of all donations goes           16   surgical programs.
17   towards our free surgery programs. A               17      Q. So, would surgical programs
18   founding donor pays all admin and                  18   include providing public information about
19   fund-raising expenses."                            19   how to avoid going blind?
20          Now, although similar, those are            20      A. That would be part of it.
21   three different statements?                        21      Q. And what is the connection
22      A. That's correct.                              22   between surgical programs and general
23      Q. Could you explain why -- could               23   health information?
24   you explain what the differences mean?             24      A. General health information about
25      A. I think you are going to have                25   blindness?
                                             Page 203                                                Page 205
 1               H. Fuchs                                1                H. Fuchs
 2   Brian to explain that. He is the one who            2      Q. Yes.
 3   wrote it.                                           3      A. What is the difference?
 4      Q. Okay.                                         4      Q. What is the relationship?
 5      A. I can't answer that.                          5      A. They are both part of the public
 6      Q. Well, let's pretend or let's                  6   information.
 7   assume that a donation came in in response          7          MR. LILIEN: Hana, if a donor or
 8   to each of these three mailings. Now, the           8      prospective donor would receive a
 9   first one is a WonderWork mailing. The              9      document that says "give to our
10   second one, I can't tell, but it doesn't           10      programs," which means surgical
11   identify itself as one of the d/b/a's.             11      programs, 100 percent goes to surgical
12      A. No.                                          12      programs, I just want to understand
13      Q. And the third one is a                       13      why you would think a donor would
14   WonderWork mailing as well.                        14      believe that their donations go to pay
15      A. Yes.                                         15      for cost of a public information
16      Q. While these all say different                16      campaign.
17   things as to where the donation -- I will          17          MS. FUCHS: I don't -- I mean, I
18   rephrase that.                                     18      don't know what a donor believes, but
19          How would you treat funds that              19      I know, accounting-wise, you are
20   came in in response to each of these three         20      allowed to do this. So it is kind
21   mailings?                                          21      of -- what I do is the financial
22      A. Based on the hundred percent,                22      piece, but the marketing people do the
23   this would be restricted to WonderWork's           23      rest of it. So, it is more of what
24   surgical programs.                                 24      they -- what their intentions are.
25      Q. WonderWork, I thought, doesn't               25          But according to the accounting
                                                                             52 (Pages 202 to 205)
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                                            Page 206                                                   Page 208
 1              H. Fuchs                                1                H. Fuchs
 2     regulations, one is allowed to                   2   people. "Go for a mammogram." I know
 3     allocate part of the direct mail                 3   that is part of what I am paying for when
 4     expenses to programs.                            4   I give money to them. You know, it is
 5          MR. LILIEN: Is there anything               5   kind of -- yeah, I do know that. Just
 6     in the documents you have in front of            6   because I know that.
 7     you -- start with the letter 6087 to             7           MR. LILIEN: Let me have you put
 8     6088 -- that would suggest that money            8      your chief financial officer hat on
 9     raised would go to pay for costs of              9      for a moment. As fiduciary of a
10     mailings of information.                        10      charity that has restricted funds,
11          MS. FUCHS: I don't see anything            11      would your answer be any different?
12     here, but that doesn't mean it wasn't           12           MS. FUCHS: Well, also, I mean,
13     included in the actual mail piece they          13      I rely on the expertise of our
14     received. The envelope could have               14      accounting professionals and our
15     been the brochure, which is usually             15      auditors from KPMG and now from BDO to
16     the case. This letter doesn't say               16      either tell me this is incorrect and
17     that.                                           17      change it or to agree with it.
18          MR. LILIEN: Just to be clear               18           So, if they agree with the
19     here, your understanding and your               19      presentation..
20     belief is that the phrase "surgical             20           MR. LILIEN: I think it is very
21     programs" also means information that           21      important for us, and I think we will
22     is included in mailings to donors?              22      be breaking soon, but I just ask you
23          MS. FUCHS: The public                      23      again.
24     information piece. Correct.                     24           MS. FUCHS: Sure.
25          MR. LILIEN: And you believe                25           MR. LILIEN: Just to make sure
                                            Page 207                                                   Page 209
 1               H. Fuchs                               1               H. Fuchs
 2      that to be a surgical program?                  2     we are clear on this, your decision as
 3      Earlier you had mentioned surgical              3     CFO to use restricted funds for
 4      programs were surgeries, equipment and          4     purposes other than grants to
 5      some quality assurance.                         5     hospitals, equipment, quality
 6          MS. FUCHS: Part of the                      6     assurance reviews, is based on
 7      allocation. I mean, it is part of the           7     accounting rules as to when you can
 8      functional expense breakdown of the             8     allocate costs across programs, not
 9      finances. So, to me it is part of it            9     based on what the solicitation
10      also.                                          10     materials themselves may say?
11      Q. But if you were a donor and                 11          MS. FUCHS: Well, backing up a
12   received a solicitation from 20/20/20,            12     little, though, the allocation rules
13   would you have any reason to believe that         13     are based on what the solicitation
14   your funds, your donation, would go to pay        14     materials say.
15   for an insert like the one that we just           15          MR. LILIEN: Let me be more
16   looked at?                                        16     specific. I mean in terms of what the
17      A. I mean, I know it would, so I               17     materials say about use.
18   can't answer that question. Since I do            18          MS. FUCHS: Well, I would rely
19   the finances, I know when I get                   19     on KP -- rely on our auditors to
20   information from every charity in the             20     determine whether it is acceptable or
21   world basically in my mailbox, I know             21     not. And if they reviewed what Gary
22   every piece of paper that they put in             22     Ellis did and said to me, "This is
23   there, which has a map of where they have         23     incorrect," then I would change it.
24   hospitals or how many surgeries they do.          24     But they have all reviewed the work
25          For example, the breast cancer             25     that all of the people did, whether it
                                                                            53 (Pages 206 to 209)
                             TransPerfect Legal Solutions
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                                                  Page 210                                                      Page 212
 1             H. Fuchs                                       1
 2     is Gary Ellis or Target Market, and                    2
 3     they have agreed with the                                        CERTIFICATION
 4     presentation. So, I agreed with that.                  3
 5     Q. Did you ever --                                     4
 6         MR. CURCHACK: I think we should                    5     I, DEBRA STEVENS, a Notary Public for
 7     break now. Thank you. We will see                      6   and within the State of New York, do
 8     everybody back here at 11.                             7   hereby certify:
 9         (TIME NOTED: 6:38 p.m.)                            8     That the witness whose testimony as
10                                                            9   herein set forth, was duly sworn by me;
11                                                           10   and that the within transcript is a true
12                                                           11   record of the testimony given by said
13                                                           12   witness.
14
                                                             13     I further certify that I am not
                                                             14   related to any of the parties to this
15
                                                             15   action by blood or marriage, and that I am
16                                                           16   in no way interested in the outcome of
17                                                           17   this matter.
18                                                           18     IN WITNESS WHEREOF, I have hereunto
19                                                           19   set my hand this 23rd day of August, 2017.
20                                                           20
21                                                           21     _______________________
22                                                           22     DEBRA STEVENS, RPR-CRR
23                                                           23
24                                                           24              ***
25                                                           25
                                                  Page 211                                                      Page 213
 1                                                            1
 2             ACKNOWLEDGMENT                                 2         *** ERRATA SHEET ***
 3                                                                   TRANSPERFECT DEPOSITION SERVICES
                                                              3       216 E. 45th Street, Suite #903
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 4            :ss                                             4          (212) 400-8845
     COUNTY OF NEW YORK )                                     5   CASE: In Re Wonderwork, Inc.
 5                                                                DATE: August 14, 2017
 6                                                            6   WITNESS: Hana Fuchs         REF: Job #19383
 7     I, HANA FUCHS, hereby certify that                     7   PAGE LINE FROM                  TO
                                                              8   ____|______|______________________|______
 8   I have read the transcript of my                         9   ____|______|______________________|______
 9   testimony taken under oath in my                        10   ____|______|______________________|______
10   deposition on August 14, 2017,                          11   ____|______|______________________|______
11   that the transcript is a true, complete                 12   ____|______|______________________|______
12   And correct record of my testimony, and                 13   ____|______|______________________|______
13   that the answers on the record as given by              14   ____|______|______________________|______
14   me are true and correct.                                15   ____|______|______________________|______
                                                             16   ____|______|______________________|______
15                                                           17   ____|______|______________________|______
16                                                           18   ____|______|______________________|______
17   __________________________                              19   ____|______|______________________|______
18       HANA FUCHS                                          20   ____|______|______________________|______
19   Signed and subscribed to before me                      21
20   This ______ day of _______________, 2017.               22   ___________________________
                                                                      HANA FUCHS
21   ________________________________                        23
22   Notary Public, State of New York                             Subscribed and sworn to before me
23                                                           24   this ____ day of ____________, 20__.
24                                                                _______________________________
25                                                           25           Notary Public

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EXHIBIT 1
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EXHIBIT 2
REDACTED
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  FUCHS
EXHIBIT 11
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EXHIBIT 12
  FUCHS
EXHIBIT 13
